Case 2:19-cv-10027-GAD-APP ECF No. 169-3, PageID.3112 Filed 07/10/23 Page 1 of 19



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Case 2:19-cv-10027-GAD-APP ECF No. 169-3, PageID.3113 Filed 07/10/23 Page 2 of 19

BULIFANT, COMMANDER ALAN
01/12/2021                                                                     Page 1
                                                                              Page 1
·1    ∑∑∑∑∑∑UNITED STATES DISTRICT COURT

·2    ∑∑∑∑∑∑EASTERN DISTRICT OF MICHIGAN

·3    ∑∑∑∑∑∑∑∑SOUTHERN DIVISION

·4

·5    JOHNATHAN L. BURKS,

·6    ∑∑∑∑∑Plaintiff,

·7    -vs-∑∑∑∑∑∑∑∑∑∑∑∑∑Case No. 2:19-cv-10027

·8    BENNY NAPOLEON, ET AL.,∑∑∑Hon. Gershwin A. Drain

·9    ∑∑∑∑∑Defendants.∑∑∑∑Magistrate Anthony P. Patti

10    ~~~~~~~~~~~~~~~~~~~~~~~/

11    DEPONENT:∑∑∑DEPOSITION OF COMMANDER ALAN BULIFANT

12    ∑∑∑∑∑∑∑APPEARING REMOTELY FROM WAYNE COUNTY,

13    ∑∑∑∑∑∑∑MICHIGAN

14    DATE:∑∑∑∑∑Tuesday, January 12, 2021

15    TIME:∑∑∑∑∑1:00 p.m.

16

17    REPORTER:∑∑∑John J. Slatin, RPR, CSR-5180,

18    ∑∑∑∑∑∑∑Certified Shorthand Reporter,

19    ∑∑∑∑∑∑∑Appearing Remotely From

20    ∑∑∑∑∑∑∑Oakland County, Michigan

21

22    ∑∑∑∑∑∑(Appearances listed on page 2)

23

24

25


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Case 2:19-cv-10027-GAD-APP ECF No. 169-3, PageID.3114 Filed 07/10/23 Page 3 of 19

BULIFANT, COMMANDER ALAN
01/12/2021                                                                                                                                     Pages 2–5
                                                                   Page 2                                                                          Page 4
·1   REMOTE APPEARANCES:                                                    ·1   ∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑Tuesday, January 12, 2021

·2                                                                          ·2   ∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑Reported Remotely from

·3   ∑∑∑SARAH S. PRESCOTT (P70510)                                          ·3   ∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑Oakland County, Michigan

·4   ∑∑∑Salvatore, Prescott, Porter & Porter, PLLC                          ·4   ∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑1:00 p.m.

·5   ∑∑∑105 East Main Street                                                ·5   ∑∑∑∑∑∑∑∑∑*∑∑*∑∑*

·6   ∑∑∑Northville, Michigan∑48167                                          ·6   ∑∑∑THE REPORTER:∑The attorneys participating in this

·7   ∑∑∑(248) 679-8711                                                      ·7   deposition acknowledge that I am not physically present

·8   ∑∑∑prescott@sppplaw.com                                                ·8   in the deposition room and that I will be reporting this

·9   ∑∑∑∑∑Appearing on behalf of the Plaintiff.                             ·9   deposition remotely.∑They further acknowledge that, in

10                                                                          10   lieu of an oath administered in person, the witness will

11   ∑∑∑PAUL T. O'NEILL (P57293)                                            11   verbally declare his testimony in this matter is under

12   ∑∑∑(Present remotely in room with witness.)                            12   penalty of perjury.∑The parties and their counsel

13   ∑∑∑Assistant Corporation Counsel                                       13   consent to this arrangement and waive any objections to

14   ∑∑∑500 Griswold, 30th Floor                                            14   this manner of reporting.

15   ∑∑∑Detroit, Michigan∑48226                                             15   ∑∑∑Will legal counsel please indicate your agreement

16   ∑∑∑(313) 224-5402                                                      16   by stating your name, your party represented and your

17   ∑∑∑poneill@waynecounty.com                                             17   agreement on the record.

18   ∑∑∑∑∑Appearing on behalf of the Defendants.                            18   ∑∑∑MS. PRESCOTT:∑Sarah Prescott.∑Plaintiff agrees.

19                                                                          19   ∑∑∑MR. O'NEILL:∑Paul O'Neill, for Defendants.∑We

20   ∑∑∑∑∑ALSO PRESENT REMOTELY:∑Mollie Berkowitz                           20   agree as well.

21                                                                          21   ∑∑∑THE REPORTER:∑Thank you.

22                                                                          22   ∑∑∑Will the witness please present his

23                                                                          23   government-issued identification by holding it up to the

24                                                                          24   camera for verification?

25                                                                          25   ∑∑∑THE WITNESS:∑(Complying.)


                                                                   Page 3                                                                          Page 5
·1   ∑∑∑∑∑∑∑TABLE OF CONTENTS
                                                                            ·1   ∑∑∑∑∑THE REPORTER:∑I understand you're holding up your
·2
                                                                            ·2   ∑∑∑Office of the Sheriff, Wayne County Sheriff's Sworn
·3   WITNESS∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑PAGE
                                                                            ·3   ∑∑∑Commander I.D.∑It's got your name as you've stated it.
·4
                                                                            ·4   ∑∑∑∑∑Thank you for doing that.∑I appreciate it,
·5   COMMANDER ALAN BULIFANT
                                                                            ·5   ∑∑∑Mr. Bulifant.
·6
                                                                            ·6   ∑∑∑∑∑If you'll raise your right hand, I'll swear you in.
·7   ∑∑∑Examination by Ms. Prescott∑∑∑∑∑∑∑∑∑5
                                                                            ·7   ∑∑∑∑∑THE WITNESS:∑(Complying.)
·8   ∑∑∑Examination by Mr. O'Neill∑∑∑∑∑∑∑∑∑64
                                                                            ·8   ∑∑∑∑∑THE REPORTER:∑I just need a "yes" or a "no."
·9   ∑∑∑Re-Examination by Ms. Prescott∑∑∑∑∑∑∑66
                                                                            ·9   ∑∑∑∑∑Do you solemnly swear the testimony you're about to
10
                                                                            10   ∑∑∑give will be the truth, the whole truth and nothing but
11   EXHIBITS:∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑IDENTIFIED
                                                                            11   ∑∑∑the truth, so help you God?
12
                                                                            12   ∑∑∑∑∑THE WITNESS:∑Yes.
13   ∑∑∑∑∑∑∑∑(None offered)
                                                                            13   ∑∑∑∑∑THE REPORTER:∑Thank you.
14
                                                                            14   ∑∑∑∑∑Ready when you are, Sarah.
15
                                                                            15   ∑∑∑∑∑∑∑∑∑∑∑∑*∑∑*∑∑*
16
                                                                            16   ∑∑∑∑∑∑∑∑COMMANDER ALAN BULIFANT,
17
                                                                            17   ∑∑∑having been first duly sworn, was examined and testified
18
                                                                            18   ∑∑∑as follows:
19
                                                                            19   ∑∑∑∑∑∑∑∑∑∑∑EXAMINATION
20
                                                                            20   BY MS. PRESCOTT:
21
                                                                            21   Q.∑∑Hi, Commander.∑My name is Sarah Prescott.∑I hope I
22
                                                                            22   ∑∑∑will not forget, but if I do and call you "Sir" or
23
                                                                            23   ∑∑∑"Mister," I apologize.∑I'll try to use your correct
24
                                                                            24   ∑∑∑title.
25
                                                                            25   ∑∑∑∑∑I'm going to ask you some questions.∑This Zoom

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Case 2:19-cv-10027-GAD-APP ECF No. 169-3, PageID.3115 Filed 07/10/23 Page 4 of 19

BULIFANT, COMMANDER ALAN
01/12/2021                                                                                                                                                Pages 6–9
                                                                              Page 6                                                                          Page 8
·1   technology is -- it can be a little tricky.                                       ·1   ∑∑∑today.
·2   ∑∑∑When I do, if I step on the end of your answer or                              ·2   A.∑∑I've seen part of it.
·3   start to talk over you, I do not mean to do that.∑It's                            ·3   Q.∑∑Okay.∑It's two copies of the same thing.
·4   just maybe that I don't sense that you have more to say.                          ·4   A.∑∑Okay.
·5   ∑∑∑Please just let me know.∑I'm happy to give you all                             ·5   Q.∑∑One had some typos corrected in the last two or three
·6   the time you need to answer the questions.                                        ·6   ∑∑∑paragraphs.∑The first half of it, the first version,
·7   ∑∑∑There may be times where you are anticipating the                              ·7   ∑∑∑the first seven pages was sent on December 18th, 2020,
·8   end of my question, and you are ready to answer.∑Just                             ·8   ∑∑∑and then we corrected some typos yesterday just in the
·9   let me have a little pause so that our court reporter                             ·9   ∑∑∑paragraphs 11 and 12.
10   can take down the end of the question and the last words                          10   ∑∑∑∑∑Can you, for the record, let us know what -- if you
11   out of my mouth and then you can -- you can speak.                                11   ∑∑∑saw the first document or the second document in this
12   ∑∑∑There could be a time where Mr. O'Neill has an                                 12   ∑∑∑set?
13   objection.∑If he does so, he'll let you know whether                              13   A.∑∑Can I refer to my notes?
14   you don't answer.∑Otherwise, the practice is that you                             14   Q.∑∑Yeah.
15   do answer.                                                                        15   A.∑∑I saw the document that refers to the December 18th
16   ∑∑∑So, sometimes he objects but you still answer.                                 16   ∑∑∑date.
17   ∑∑∑It's really important in this context and in every                             17   Q.∑∑Okay.∑And that document lists, with a number 1 through
18   deposition that we understand each other, meaning, when                           18   ∑∑∑13, some areas of questioning.
19   I ask you a question and you answer it, we have to                                19   ∑∑∑∑∑Is that familiar to you?
20   assume you understood and that you are answering it the                           20   A.∑∑Yes.
21   best you could.                                                                   21   Q.∑∑And are you the County's representative, prepared and
22   ∑∑∑So, if there is a time where you don't understand,                             22   ∑∑∑designated to speak on 1, 2, 7, 8, and 9 of those
23   maybe it's a word or what I'm getting at or what I'm                              23   ∑∑∑itemized areas of questioning?
24   referring to, or it was confusing as a question to you,                           24   A.∑∑Yes.
25   it's important that I know that.                                                  25   Q.∑∑Thank you, Commander.
                                                                              Page 7                                                                          Page 9
·1   ∑∑∑∑∑So, would -- I would just ask you if you would                               ·1   ∑∑∑∑∑Can you tell us what you did to get yourself ready
·2   ∑∑∑please let me know.                                                            ·2   ∑∑∑to answer the questions in those areas?
·3   ∑∑∑∑∑Is that agreeable?                                                           ·3   A.∑∑After reviewing that document, I went back and I
·4   A.∑∑Yes.                                                                          ·4   ∑∑∑reviewed some jail policies regarding procedures and
·5   Q.∑∑Okay.∑Zoom forces us to be verbal and not to nod our                          ·5   ∑∑∑operations for that time period.
·6   ∑∑∑heads or shrug when we're not sure.∑But there may be a                         ·6   Q.∑∑Okay.∑Is there anything else you did, anyone you spoke
·7   ∑∑∑time where I say -- remind you you're nodding, and I say                       ·7   ∑∑∑to, anyone you -- any documents you looked at, any video
·8   ∑∑∑"Is that a yes?"∑And that's just to help us keep the                           ·8   ∑∑∑you reviewed, any other steps or anything you did?
·9   ∑∑∑record clear.                                                                  ·9   ∑∑∑∑∑And the only exclusion I'll make is speaking with
10   ∑∑∑∑∑If you need a break -- I don't think we'll be here                           10   ∑∑∑Mr. O'Neill who is the counsel for the County.
11   ∑∑∑terribly long, but if you need a break, would you let me                       11   A.∑∑Yes, I did speak with Mr. O'Neill, and I also reviewed
12   ∑∑∑know that as well?                                                             12   ∑∑∑the internal affairs case file.
13   A.∑∑Yes.                                                                          13   Q.∑∑The case file relative to Solomon's sexual assault of
14   Q.∑∑Okay.∑I have a Deposition Notice that I have                                  14   ∑∑∑Burks?
15   ∑∑∑circulated, and I'm going to put it on the screen.                             15   A.∑∑Yes.
16   ∑∑∑∑∑Can you see that it's titled "United States                                  16   Q.∑∑Okay.∑Are there other materials or documents you
17   ∑∑∑District Court" at the very top?                                               17   ∑∑∑reviewed?
18   A.∑∑I only have half of it.∑I've got video screens on the                         18   A.∑∑No.
19   ∑∑∑other half.                                                                    19   Q.∑∑For example, have you seen the Complaint?
20   Q.∑∑Okay.∑So, what can happen is, I'm going to give you                           20   A.∑∑No.
21   ∑∑∑control over the screen so that you can move the                               21   Q.∑∑The lawsuit?∑Okay.
22   ∑∑∑pictures around or you can scroll down, or you can also                        22   A.∑∑No, I have not.
23   ∑∑∑make it smaller or larger.                                                     23   Q.∑∑Okay.∑What did you bring with you here today?
24   ∑∑∑∑∑But my question is whether -- and you can look                               24   A.∑∑I have the document that identified I saw from the
25   ∑∑∑through this document -- whether you've seen it before                         25   ∑∑∑December 18th date.

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Case 2:19-cv-10027-GAD-APP ECF No. 169-3, PageID.3116 Filed 07/10/23 Page 5 of 19

BULIFANT, COMMANDER ALAN
01/12/2021                                                                                                                                               Pages 10–13
                                                                           Page 10                                                                            Page 12
·1   ∑∑∑∑∑I have -- let's see.∑It looks like five jail                               ·1   ∑∑∑one, actually happens twice a shift.
·2   ∑∑∑policies that I had printed out, and then a copy of the                      ·2   Q.∑∑Okay.∑Is there anything relevant, or is there anything
·3   ∑∑∑criminal internal affairs case against Mr. Solomon.                          ·3   ∑∑∑in 14.3 or 14.18 relative to or regarding audio/video
·4   Q.∑∑Okay.∑And when you say "GO policies," can you tell us                       ·4   ∑∑∑equipment?
·5   ∑∑∑what G and O mean?∑General order, or what does that                          ·5   A.∑∑I'm just double-checking real quick.
·6   ∑∑∑mean?                                                                        ·6   ∑∑∑∑∑No, there is not.
·7   A.∑∑I'm sorry.∑I don't believe I said "GO."                                     ·7   Q.∑∑Okay.∑And what does 14.1, when it refers to census
·8   Q.∑∑I apologize.∑That's what I heard.                                           ·8   ∑∑∑count, what is the policy about generally?
·9   ∑∑∑∑∑You said five policies that you brought and there                          ·9   A.∑∑14.1 was an original policy that 14.18 kind of
10   ∑∑∑was some sort of modifier?∑What was the word?                                10   ∑∑∑clarified, kind of made a little more descriptive.
11   A.∑∑Oh.∑"Jail" policies.                                                        11   ∑∑∑∑∑But 14.1 talked about the head count and card count
12   Q.∑∑"Jail."∑Thank you.                                                          12   ∑∑∑and computer match of the inmates at the beginning of
13   A.∑∑Yes.                                                                        13   ∑∑∑your shift and it also said that officers would conduct
14   Q.∑∑Five jail policies.                                                         14   ∑∑∑kind of less formal head counts at other times
15   ∑∑∑∑∑Okay.∑Can you tell me what the numbers were for                            15   ∑∑∑throughout their shift to make sure that, you know, all
16   ∑∑∑those policies, or are?                                                      16   ∑∑∑the inmates were there.
17   A.∑∑The first one is Document Number 14.14.∑It's titled                         17   Q.∑∑Okay.∑When you -- it sounds like 14.12 and 14.14 were
18   ∑∑∑"Security Video Monitoring."                                                 18   ∑∑∑more potentially relevant from your review in your -- as
19   ∑∑∑∑∑The second one is Document 14.12.∑It's titled                              19   ∑∑∑you looked at them.
20   ∑∑∑"Security Division II for Security Rounds."                                  20   ∑∑∑∑∑What was the issue/revision date on the policy
21   ∑∑∑∑∑The third one is Document Number 14.3.∑Its title                           21   ∑∑∑14.12 that you have with you?
22   ∑∑∑is "Security Inmate Lockdown Procedure."                                     22   A.∑∑November the 10th, 2015 for 14.12.
23   ∑∑∑∑∑The fourth one is 14.18, "Security Formal Head Card                        23   Q.∑∑Okay.∑And how about 14.14?
24   ∑∑∑Count."                                                                      24   A.∑∑October the 2nd, 2006.
25   ∑∑∑∑∑And the last one is Document 14.1, "Security Census                        25   Q.∑∑I was given a copy of 14.12, and it says "Revision date
                                                                           Page 11                                                                            Page 13
·1   ∑∑∑Count."                                                                      ·1   ∑∑∑11-12-12."
·2   Q.∑∑Thank you.                                                                  ·2   ∑∑∑∑∑So, would your version be the up-to-date one if we
·3   ∑∑∑∑∑In that you brought them with you to the                                   ·3   ∑∑∑were looking at the year 2016?
·4   ∑∑∑deposition, is it correct that you felt that each one of                     ·4   A.∑∑I believe so, yes.
·5   ∑∑∑those policies was relevant to one of the areas that you                     ·5   Q.∑∑Do you know if there was any further revisions to 14.12?
·6   ∑∑∑had been designated to testify?                                              ·6   A.∑∑No.∑The one that I have is the most current one that
·7   A.∑∑Not necessarily.                                                            ·7   ∑∑∑I'm aware of.
·8   Q.∑∑Okay.∑That's helpful.                                                       ·8   ∑∑∑∑∑MS. PRESCOTT:∑Okay.∑Paul, I don't think I have
·9   ∑∑∑∑∑Which ones did you think were not even -- you might                        ·9   ∑∑∑14.14 at all, but I -- in that I have the superseded one
10   ∑∑∑have pulled them, you might have reviewed them, but                          10   ∑∑∑of 14.12, and if we were at a dep, we would just pass it
11   ∑∑∑looking at them did not think that they were as relevant                     11   ∑∑∑across the table and move on, do you think that there's
12   ∑∑∑as you at least may have thought or wanted to check?                         12   ∑∑∑an opportunity for you to fax or scan those so that we
13   A.∑∑The number for the 14.18, "Security Formal Head Card                        13   ∑∑∑can continue on?
14   ∑∑∑Count."                                                                      14   ∑∑∑∑∑I can reorganize my questions, but can you get
15   Q.∑∑Okay.                                                                       15   ∑∑∑those to me?
16   A.∑∑The Number 14.3, "Security Inmate Lockdown Procedure."                      16   ∑∑∑∑∑MR. O'NEILL:∑Sure.∑I can e-mail them to you if
17   ∑∑∑And Number 14.1, "Security Census Count."                                    17   ∑∑∑you like.
18   Q.∑∑Is -- the Number 14.3, the "Security Inmate Lockdown                        18   ∑∑∑∑∑MS. PRESCOTT:∑Oh, you can just hit e-mail?∑Okay.
19   ∑∑∑Procedure," what in general is the lockdown procedure                        19   ∑∑∑∑∑So, let me come back to this issue, but if you
20   ∑∑∑referring to?                                                                20   ∑∑∑could hit e-mail, that would be great.
21   A.∑∑The lockdown procedure talks about how the lockdown at                      21   ∑∑∑∑∑MR. O'NEILL:∑Yeah.∑Can you just give me two
22   ∑∑∑the end of the evening at Jail Division II is conducted.                     22   ∑∑∑seconds to make that happen before you start another
23   Q.∑∑Okay.∑And the head count that the 14.18 refers to, does                     23   ∑∑∑question?
24   ∑∑∑that happen once a day or once a shift?                                      24   ∑∑∑∑∑MS. PRESCOTT:∑Yes.
25   A.∑∑No.∑The security formal head card count, the formal                         25   ∑∑∑∑∑∑∑(Discussion held off the record.)

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Case 2:19-cv-10027-GAD-APP ECF No. 169-3, PageID.3117 Filed 07/10/23 Page 6 of 19

BULIFANT, COMMANDER ALAN
01/12/2021                                                                                                                                               Pages 14–17
                                                                           Page 14                                                                            Page 16
·1   ∑∑∑∑∑MS. PRESCOTT:∑Can we go off the record for a                               ·1   A.∑∑Yes.
·2   ∑∑∑minute?                                                                      ·2   Q.∑∑Is there anything you know of that the practices of
·3   ∑∑∑∑∑∑∑(Short recess at 1:17 p.m.)                                              ·3   ∑∑∑officers on 6 Old in August of 2016 were in any way
·4   ∑∑∑∑∑∑∑∑∑∑∑∑*∑∑*∑∑*                                                             ·4   ∑∑∑departing from approved custom policy or practice?
·5   ∑∑∑∑∑∑∑(Record resumed at 1:20 p.m.)                                            ·5   A.∑∑No.
·6   BY MS. PRESCOTT:                                                                ·6   Q.∑∑And with regard to the maintenance of the cameras and
·7   Q.∑∑Commander, one of the things that you were to speak to                      ·7   ∑∑∑the role of the folks who had a job of making sure that
·8   ∑∑∑today in Number 1 is the policies written or nonwritten                      ·8   ∑∑∑the cameras were operative, were those folks operating
·9   ∑∑∑in effect during August 2016 with regard to the                              ·9   ∑∑∑consistent with command policy and practice and what was
10   ∑∑∑maintenance and use of the audiovisual equipment in                          10   ∑∑∑the established expectation of Wayne County?
11   ∑∑∑6 Old.                                                                       11   ∑∑∑∑∑MR. O'NEILL:∑Excuse me.∑Object on the basis of
12   ∑∑∑∑∑And a second category was the actual routines and                          12   ∑∑∑compound question.∑You're asking about policy, custom
13   ∑∑∑practices of those who staffed the sixth floor during                        13   ∑∑∑and practice.∑And so that's a compound question.
14   ∑∑∑August of 2016.                                                              14   BY MS. PRESCOTT:
15   ∑∑∑∑∑Are you familiar with the actual practices of the                          15   Q.∑∑I'll take an answer.
16   ∑∑∑individuals who staffed the sixth floor during August of                     16   A.∑∑I want to kind of like bifurcate my answer because, in
17   ∑∑∑2016 and specifically with regard to their use and                           17   ∑∑∑my mind, there's a difference between the
18   ∑∑∑reliance on the video equipment?                                             18   ∑∑∑video-monitoring system working and the video-monitoring
19   A.∑∑Yes.                                                                        19   ∑∑∑system recording.
20   Q.∑∑And would administration, policymakers, the people up                       20   ∑∑∑∑∑If I'm an off- --
21   ∑∑∑the chain of command been aware of the practices of the                      21   Q.∑∑Do you -- go ahead.
22   ∑∑∑officers staffing that floor through their chain of                          22   A.∑∑If I'm an officer and I'm sitting in my duty station and
23   ∑∑∑command in their supervisorial roles in August of 2016?                      23   ∑∑∑my video monitor is up, and I have images on that video
24   A.∑∑Yes.                                                                        24   ∑∑∑monitor, as far as I know, as that officer is sitting
25   Q.∑∑And would you agree that the chain of command, the                          25   ∑∑∑there, the video-monitoring system is working because
                                                                           Page 15                                                                            Page 17
·1   ∑∑∑different supervisorial officers had a duty to make sure                     ·1   ∑∑∑I'm able to see the inmate and live monitor their
·2   ∑∑∑that the actual practices and the typical, customary,                        ·2   ∑∑∑activity.
·3   ∑∑∑day-to-day doing of the job of the officers on 6 Old was                     ·3   ∑∑∑∑∑There's no way for me to know, as an officer, if
·4   ∑∑∑appropriate according to the decision-makers' and                            ·4   ∑∑∑it's being recorded in a DVR room on another floor, and
·5   ∑∑∑policy-makers' directions?                                                   ·5   ∑∑∑we're not required to have cameras or even have them
·6   A.∑∑Yes.                                                                        ·6   ∑∑∑record.∑The video monitoring was a tool to aid us in
·7   ∑∑∑∑∑We have a duty to make sure that policies are                              ·7   ∑∑∑being able to provide more supervision for the inmates
·8   ∑∑∑followed and that people are kept safe, yes.                                 ·8   ∑∑∑and for our staff, to make sure that our staff was safe.
·9   Q.∑∑And did they -- were the chain of command that were over                    ·9   Q.∑∑Okay.∑I want to come back to that because something you
10   ∑∑∑6 Old able to do that effectively in 2016?                                   10   ∑∑∑said there is -- I want to follow up on.
11   A.∑∑I believe so, yes.                                                          11   ∑∑∑∑∑But let me clarify my question again because it was
12   Q.∑∑With regard to the use of the audiovisual equipment and                     12   ∑∑∑a little bit different than what the duty officer
13   ∑∑∑the reporting of any issues with the audio/video                             13   ∑∑∑necessarily is doing or seeing.
14   ∑∑∑equipment, were those day-to-day activities consistent                       14   ∑∑∑∑∑So, I was trying to understand if, with regard to
15   ∑∑∑with approved policy and customary practice of the                           15   ∑∑∑the folks who had a job to do in maintaining the
16   ∑∑∑department?                                                                  16   ∑∑∑equipment, making sure that it was operative, making
17   A.∑∑I'm sorry.∑That's kind of a broad question.                                 17   ∑∑∑sure that it was reliable, those wouldn't necessarily be
18   ∑∑∑∑∑Would you mind repeating it and maybe being a                              18   ∑∑∑the duty officers; right?
19   ∑∑∑little bit more specific?                                                    19   A.∑∑Correct.
20   Q.∑∑Okay.∑I'm speaking to in August of 2016, the officers                       20   Q.∑∑So, whoever that class of people is that are more in
21   ∑∑∑who are on the floor of 6 Old, and responsible for that                      21   ∑∑∑line with maintenance of the audiovisual system, were
22   ∑∑∑side of the building and those prisoners that were                           22   ∑∑∑they conducting themselves according to approved policy
23   ∑∑∑housed there, were their use and reliance on the audio                       23   ∑∑∑and practice in August of 2016?
24   ∑∑∑and visual equipment consistent with customary policy                        24   A.∑∑I don't have some of that information because, you know,
25   ∑∑∑and practice of the department?                                              25   ∑∑∑the camera system was put in and maintained by an

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Case 2:19-cv-10027-GAD-APP ECF No. 169-3, PageID.3118 Filed 07/10/23 Page 7 of 19

BULIFANT, COMMANDER ALAN
01/12/2021                                                                                                                                              Pages 18–21
                                                                           Page 18                                                                           Page 20
·1   ∑∑∑outside vendor.∑So, I don't know what the parameters of                      ·1   ∑∑∑and staff.∑And I know that's not your exact words, but
·2   ∑∑∑that contract were or are.∑And then, you know, again,                        ·2   ∑∑∑did I basically get what your point was?
·3   ∑∑∑the command in the building, they know the system is                         ·3   A.∑∑Yes.
·4   ∑∑∑working until it's not working, and then they make                           ·4   Q.∑∑Okay.∑And would you agree with me that they were a tool
·5   ∑∑∑notification to try and get the system back up and                           ·5   ∑∑∑that -- the cameras, that is, and the DVR were a tool
·6   ∑∑∑working again.                                                               ·6   ∑∑∑that was not super reliable in August of 2016 on 6 Old?
·7   ∑∑∑∑∑And there was a period there where it goes in and                          ·7   A.∑∑Well, I would like to say that I see the camera and the
·8   ∑∑∑out.∑It goes up and down.∑And there were problems.                           ·8   ∑∑∑DVR as two separate tools.
·9   ∑∑∑There were issues.∑And that's why we would institute                         ·9   Q.∑∑Okay.
10   ∑∑∑the 30-minute round policy whenever we were aware that                       10   A.∑∑And I would say, yes, they were not very reliable.
11   ∑∑∑the camera system was malfunctioning.                                        11   Q.∑∑Okay.∑And for how long had that been going on by August
12   Q.∑∑Okay.∑So, there's a few things in that answer, too, I                       12   ∑∑∑of 2016, that the reliability had really broken down?
13   ∑∑∑want to come back to and break down, but I want to focus                     13   A.∑∑I'm not sure of the exact time frame because I wasn't
14   ∑∑∑on the people that you said would be like the command --                     14   ∑∑∑involved with the maintenance at that time.
15   ∑∑∑either the lieutenants or the commanders, the officers                       15   ∑∑∑∑∑I can tell you, as the commander now at Jail
16   ∑∑∑who would hear that there was an issue with the cameras                      16   ∑∑∑Division II, it is -- still we have issues from time to
17   ∑∑∑and make note, alert somebody, escalate it and then                          17   ∑∑∑time with it.∑That's why we're doing 30-minute rounds.
18   ∑∑∑maybe it might or might not go to the outside vendor.                        18   Q.∑∑And one of the things that you've talked about is the
19   ∑∑∑∑∑So, that group of command officers who were aware                          19   ∑∑∑rounds and the areas that you were called on was to talk
20   ∑∑∑there was a problem, were they doing the job according                       20   ∑∑∑about routines and practices of those who staff the
21   ∑∑∑to approved custom and policy of the department in the                       21   ∑∑∑sixth floor regarding the use and functionality of the
22   ∑∑∑year 2016, from January to August?                                           22   ∑∑∑video.
23   ∑∑∑∑∑MR. O'NEILL:∑Excuse me.∑Objection.∑Outside the                             23   ∑∑∑∑∑That's Number 2 on the list.
24   ∑∑∑scope of the subject's designated.                                           24   ∑∑∑∑∑So, you've made the point that when the cameras
25   ∑∑∑∑∑But the witness can answer.                                                25   ∑∑∑were down, the -- an option would be to enhance security
                                                                           Page 19                                                                           Page 21
·1   A.∑∑My answer is yes.                                                           ·1   ∑∑∑a different way, by sending people on more frequent
·2   BY MS. PRESCOTT:                                                                ·2   ∑∑∑rounds; is that right?
·3   Q.∑∑Okay.∑Who was the outside vendor, or what was it                            ·3   A.∑∑Yes.
·4   ∑∑∑called?                                                                      ·4   Q.∑∑And, in fact, it was policy to do that; right?
·5   A.∑∑I don't know.                                                               ·5   A.∑∑Yes.
·6   Q.∑∑And do you know of any occasion in which the staff of                       ·6   Q.∑∑And, in fact, some of the policies call for not just
·7   ∑∑∑the sixth floor, including Ward 10, from January of '15                      ·7   ∑∑∑rounds every 30 minutes but continuous rounds; right?
·8   ∑∑∑through August of '16, ever called for that vendor to                        ·8   A.∑∑On specific housing units.
·9   ∑∑∑come in and do any service on those cameras?                                 ·9   Q.∑∑And "continuous rounds" means just that?∑That you're
10   A.∑∑The staff would -- the staff from the sixth floor would                     10   ∑∑∑constantly walking between one and the next, or does it
11   ∑∑∑never call.∑That would come from either shift command,                       11   ∑∑∑mean something different?
12   ∑∑∑but more likely an IT person.                                                12   A.∑∑No.∑You're walking -- you're walking, you know,
13   Q.∑∑Okay.                                                                       13   ∑∑∑continuously from one to the other.
14   A.∑∑Or it may be an IT officer.                                                 14   Q.∑∑Okay.∑And so were there times that continuous rounds
15   Q.∑∑Are you aware of anybody in those categories of whether                     15   ∑∑∑were instituted in certain wards because of camera
16   ∑∑∑shift command or IT ever making such a call?                                 16   ∑∑∑inoperability?
17   A.∑∑I don't have personal knowledge of it, but I know                           17   A.∑∑I wasn't there.∑I don't have personal knowledge, but
18   ∑∑∑Lieutenant Bates was a lieutenant there and Corporal                         18   ∑∑∑I'm sure that, yes, there would have been times that
19   ∑∑∑Britt Foreman was an officer there.∑And they've had --                       19   ∑∑∑continuous rounds were instituted.
20   ∑∑∑they've been instrumental in the operation of the camera                     20   Q.∑∑How about just from January of '15 through August of
21   ∑∑∑system.                                                                      21   ∑∑∑2016 --
22   Q.∑∑Okay.∑Moments ago, you testified, and I said I wanted                       22   A.∑∑I wasn't --
23   ∑∑∑to come back to something.∑You said that you don't have                      23   Q.∑∑-- time frame?
24   ∑∑∑to have cameras and you don't have to have reporting;                        24   A.∑∑I wasn't there at that time.
25   ∑∑∑that they're a tool to enhance security both for inmates                     25   Q.∑∑Okay.

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Case 2:19-cv-10027-GAD-APP ECF No. 169-3, PageID.3119 Filed 07/10/23 Page 8 of 19

BULIFANT, COMMANDER ALAN
01/12/2021                                                                                                                                               Pages 22–25
                                                                            Page 22                                                                           Page 24
·1   A.∑∑But I would venture to guess that, if the camera                             ·1   ∑∑∑∑∑MR. O'NEILL:∑Objection.∑That's outside the scope
·2   ∑∑∑systems, the monitoring, the video monitoring itself was                      ·2   ∑∑∑of the Deposition Notice.
·3   ∑∑∑down on the fifth and sixth floor, then continuous                            ·3   ∑∑∑∑∑You can answer if you know.
·4   ∑∑∑rounds would have been implemented.                                           ·4   A.∑∑Oh.
·5   Q.∑∑And why do you say that?∑On what is that based?∑The                          ·5   ∑∑∑∑∑I know that there has been a battle throughout my
·6   ∑∑∑fact that it was policy to do that?                                           ·6   ∑∑∑career between the sheriff's office and the County with
·7   A.∑∑Yes.                                                                         ·7   ∑∑∑regards to funding.
·8   Q.∑∑Can you think of any date or time that that was actually                     ·8   ∑∑∑∑∑Now, what were the specific asks and needs of that
·9   ∑∑∑instituted in 2015 or 2016?                                                   ·9   ∑∑∑funding that the sheriff himself may have made?∑I don't
10   A.∑∑I wasn't there at that time.∑I don't have the personal                       10   ∑∑∑have personal knowledge of that, but there's been a
11   ∑∑∑knowledge of that.                                                            11   ∑∑∑financial budgetary struggle my whole career between the
12   Q.∑∑Do you know whether the officers who staffed 6 Old                           12   ∑∑∑County and the sheriff's office.
13   ∑∑∑between January of '15 and August of '16 made                                 13   BY MS. PRESCOTT:
14   ∑∑∑documentation or tried to escalate issues of the cameras                      14   Q.∑∑Do you have any facts today that tell you that this
15   ∑∑∑not working or not -- like freezing or the visibility                         15   ∑∑∑audiovisual equipment was not part of someone's asks
16   ∑∑∑being poor?                                                                   16   ∑∑∑once the old -- once the new prison program had
17   A.∑∑I don't have any personal knowledge if they reported                         17   ∑∑∑sputtered out?
18   ∑∑∑that to anyone in that time frame.∑I was in charge of                         18   ∑∑∑∑∑MR. O'NEILL:∑Same objection.
19   ∑∑∑another area back then.                                                       19   A.∑∑Answer?
20   Q.∑∑Do you know what anybody who does -- is there anybody                        20   ∑∑∑∑∑MR. O'NEILL:∑Yeah.
21   ∑∑∑who you do think has that information?                                        21   A.∑∑No, I don't have any knowledge of that.
22   A.∑∑Lieutenant Bates.∑Jason Bates was a command officer                          22   BY MS. PRESCOTT:
23   ∑∑∑there at that time.∑And Corporal Britton Foreman was                          23   Q.∑∑Okay.∑Do you know either way whether -- it sounds like
24   ∑∑∑involved with the camera systems at that time.                                24   ∑∑∑you don't know what the appropriation requests were
25   ∑∑∑∑∑So, if there had been a repair request or issue,                            25   ∑∑∑for --
                                                                            Page 23                                                                           Page 25
·1   ∑∑∑more than likely, they may have been involved.                                ·1   A.∑∑No, I don't --
·2   Q.∑∑What was the high-level policy stance on dealing with                        ·2   Q.∑∑-- that the sheriff might have been making.
·3   ∑∑∑the cameras?                                                                  ·3   ∑∑∑∑∑Do you know whether the sheriff commissioned
·4   ∑∑∑∑∑I mean, they were problematic.∑They had been for a                          ·4   ∑∑∑anybody to assess the state of the camera systems after
·5   ∑∑∑long time.∑And we did hear from Lieutenant Bates that                         ·5   ∑∑∑it became more and more clear that the new jail was not
·6   ∑∑∑there were -- that it was sporadic and, you know, there                       ·6   ∑∑∑going to happen?
·7   ∑∑∑were issues.                                                                  ·7   A.∑∑I don't -- wouldn't have personal knowledge if the
·8   ∑∑∑∑∑What was Wayne County's policy for actually                                 ·8   ∑∑∑sheriff directed somebody to do that.∑If he did, I
·9   ∑∑∑correcting this problem in 2016?                                              ·9   ∑∑∑would assume it would be, you know, IT, the people
10   A.∑∑It's not like anybody ever had a conversation with me                        10   ∑∑∑that -- you know, Corporal Foreman, like I've
11   ∑∑∑and told me, hey, this is how they feel or they view it.                      11   ∑∑∑identified.
12   ∑∑∑∑∑I'm willing to speculate to you that, you know, we                          12   Q.∑∑Okay.∑But you don't know of any?
13   ∑∑∑were supposed to be in a new jail at that time, and the                       13   A.∑∑I don't know.
14   ∑∑∑construction of it was halted and stopped, and, you                           14   Q.∑∑And are you aware of the basic overall policy, I think
15   ∑∑∑know, the building was a 1920s original building from                         15   ∑∑∑starting in around 2011, not to reinvest in maintenance
16   ∑∑∑the old side that did not have this technology.∑No one                        16   ∑∑∑of the old side in favor of building out the new prison?
17   ∑∑∑had even dreamed of this type of technology.∑So, all of                       17   A.∑∑What policy number is that?
18   ∑∑∑these things were retrofitted in and we weren't supposed                      18   Q.∑∑Well, it's not a written policy.∑It was the policy of
19   ∑∑∑to be in that building any more.                                              19   ∑∑∑the County but -- that I think the sheriff either
20   Q.∑∑Yeah.                                                                        20   ∑∑∑testified to or certainly was made public that they
21   ∑∑∑∑∑I know that it had been -- am I correct that the                            21   ∑∑∑weren't investing in the maintenance of the old
22   ∑∑∑sheriff had, as a policy, been asking the County to                           22   ∑∑∑building.
23   ∑∑∑appropriate more money during this time frame, both for                       23   ∑∑∑∑∑MR. O'NEILL:∑Well --
24   ∑∑∑rounds and shifts and people to be on the floors but                          24   BY MS. PRESCOTT:
25   ∑∑∑also for maintenance?                                                         25   Q.∑∑Are you familiar with that?

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Case 2:19-cv-10027-GAD-APP ECF No. 169-3, PageID.3120 Filed 07/10/23 Page 9 of 19

BULIFANT, COMMANDER ALAN
01/12/2021                                                                                                                                              Pages 26–29
                                                                           Page 26                                                                           Page 28
·1   ∑∑∑∑∑MR. O'NEILL:∑Objection.∑Foundation.∑And                                    ·1   ∑∑∑operability and put those together perfectly?
·2   ∑∑∑references facts not in the record.                                          ·2   A.∑∑I'm trying to think.
·3   A.∑∑No, I'm not aware of that.                                                  ·3   ∑∑∑∑∑So, you're asking if rounds could be matched up to
·4   BY MS. PRESCOTT:                                                                ·4   ∑∑∑determine if cameras were operating or not --
·5   Q.∑∑Okay.∑What was the policy with regard to maintenance of                     ·5   Q.∑∑Yeah.∑In a particular ward.
·6   ∑∑∑the audiovisual equipment after 2011 in the old                              ·6   A.∑∑-- I guess that would be possible.∑I mean, if they were
·7   ∑∑∑building?                                                                    ·7   ∑∑∑doing 30-minute rounds, you would have to assume that
·8   A.∑∑You would -- if the officer finds a video monitoring                        ·8   ∑∑∑they were doing the 30-minute rounds due to the camera
·9   ∑∑∑failure, like their monitor is not working, they notify                      ·9   ∑∑∑not being operative, although I'm not sure that
10   ∑∑∑shift command.∑Shift command will tell them to                               10   ∑∑∑necessarily means that.
11   ∑∑∑implement 30-minute rounds.                                                  11   Q.∑∑Okay.∑What if they're doing -- what if they're doing
12   ∑∑∑∑∑Shift command would then notify Corporal Foreman or                        12   ∑∑∑60-minute rounds?∑What then?
13   ∑∑∑possibly Lieutenant Bates.∑I don't know if he had                            13   A.∑∑Then the -- I would take that to mean that the video
14   ∑∑∑connection with the vendor or not.                                           14   ∑∑∑monitoring the duty station can monitor is operating and
15   ∑∑∑∑∑My understanding is there are some issues that                             15   ∑∑∑they're getting an image that's cycling through the
16   ∑∑∑Corporal Foreman is able to fix, but then there are some                     16   ∑∑∑various cameras and wards.
17   ∑∑∑times that he may have to contact a vendor.                                  17   Q.∑∑Okay.∑And can you testify that that's the case?
18   ∑∑∑∑∑But as far as the actual, you know, how it gets                            18   ∑∑∑∑∑Like if I showed you the month of April in 2016 and
19   ∑∑∑fixed, that's their expertise, not mine.                                     19   ∑∑∑said here is the -- here is the rounds.∑Some of them
20   Q.∑∑Okay.∑You answered a little bit more on the practical                       20   ∑∑∑are 60 and some of them are 30.
21   ∑∑∑side.∑I'm talking about the big-picture strategy, the                        21   ∑∑∑∑∑Could you say positively that, okay, yes, that's
22   ∑∑∑policy of the department on how to deal with the fact                        22   ∑∑∑because those cameras were operative?
23   ∑∑∑that the system as a whole has routine failure.                              23   A.∑∑Yes.
24   ∑∑∑∑∑What was the County or the Department's policy with                        24   Q.∑∑Okay.∑So, if I find rounds in -- I have documentation
25   ∑∑∑regard to how to deal with that ongoing consistent                           25   ∑∑∑of where cameras weren't working, and if I find rounds
                                                                           Page 27                                                                           Page 29
·1   ∑∑∑failure?                                                                     ·1   ∑∑∑that are more than 30 minutes, what is happening in
·2   A.∑∑I don't believe there is a policy.∑I mean, I think                          ·2   ∑∑∑those scenarios?
·3   ∑∑∑you're talking about a discussion between elected                            ·3   ∑∑∑∑∑So, like, I'll give you an example.
·4   ∑∑∑officials that goes on, that's not shared with -- you                        ·4   ∑∑∑∑∑In maximum security, on 607 and 608, the cameras
·5   ∑∑∑know, the policy directed to me is, if equipment is                          ·5   ∑∑∑frequently weren't operative and sometimes the rounds
·6   ∑∑∑broken, you notify shift command.∑You try to get the                         ·6   ∑∑∑were more than 30 minutes.
·7   ∑∑∑equipment fixed.∑You take the, you know, precautionary                       ·7   ∑∑∑∑∑So, what's happening there?
·8   ∑∑∑security measures that you can in the meantime to make                       ·8   A.∑∑You're asking me to speculate on a great deal -- number
·9   ∑∑∑it as safe as you possibly can.                                              ·9   ∑∑∑of things without knowing all of the facts.
10   Q.∑∑Fair.                                                                       10   ∑∑∑∑∑There is a lot of things that could be happening
11   ∑∑∑∑∑And you're a person who is dealing with -- you're                          11   ∑∑∑there.∑There could be an emergency somewhere else in
12   ∑∑∑dealing with the practical reality that you're handed,                       12   ∑∑∑the building that officers are responding to.∑There
13   ∑∑∑too.∑And so I'm just asking a level maybe above that                         13   ∑∑∑could be that they didn't know the camera system wasn't
14   ∑∑∑where the people are -- like, you know, are we just                          14   ∑∑∑operating.∑It could be that the officer failed, but I
15   ∑∑∑going to put Band-Aids, Band-Aids and Band-Aids, or are                      15   ∑∑∑don't know the particulars of why that happened without
16   ∑∑∑we going to actually cure the patient?                                       16   ∑∑∑having all the facts.
17   ∑∑∑∑∑And so it sounds like you don't have any                                   17   Q.∑∑Could it be that the -- could there be times where the
18   ∑∑∑information about steps or plans or audits or any                            18   ∑∑∑camera was fine at the beginning of the shift; shift
19   ∑∑∑intention to fix the underlying problem of the systemic                      19   ∑∑∑command gives their daily orders; and like, you know,
20   ∑∑∑failure; is that correct?                                                    20   ∑∑∑the thing doesn't work for half an hour, and it comes
21   A.∑∑That's correct.∑I don't have any knowledge of that.                         21   ∑∑∑back on then, and so they just maintain their normal
22   Q.∑∑Okay.∑And could you testify to a given month, you know,                     22   ∑∑∑hour shifts?
23   ∑∑∑that each set of rounds necessarily lines up with this                       23   A.∑∑What that officer is supposed to do is, if I'm sitting
24   ∑∑∑camera failing here or that camera failing here so that                      24   ∑∑∑there working, and that video monitor goes out, I pick
25   ∑∑∑we could look at rounds as a way of figuring out camera                      25   ∑∑∑up the phone.∑I call shift command and say "Sarg, my

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Case 2:19-cv-10027-GAD-APP ECF No. 169-3, PageID.3121 Filed 07/10/23 Page 10 of 19

BULIFANT, COMMANDER ALAN
01/12/2021                                                                                                                                               Pages 30–33
                                                                            Page 30                                                                           Page 32
·1   ∑∑∑video monitor just went out."                                                 ·1   ∑∑∑continuous and the 30-minute rounds on 5 and 6, was that
·2   ∑∑∑∑∑"Okay.∑Do 30-minute rounds or continuous rounds if                          ·2   ∑∑∑the practice in 2016?
·3   ∑∑∑you're on 5 or 6."                                                            ·3   A.∑∑Yes.
·4   ∑∑∑∑∑I hang up the phone.                                                        ·4   Q.∑∑Okay.∑Are you aware of any deviations from the
·5   ∑∑∑∑∑Fifteen minutes later, the camera video monitoring                          ·5   ∑∑∑requirement to do the 30-minute rounds or continuous
·6   ∑∑∑system comes back on, for whatever reason.∑I call shift                       ·6   ∑∑∑rounds on Old 6 in 2016?
·7   ∑∑∑command and I say, "Hey, Sarg, my camera system is back                       ·7   A.∑∑No.
·8   ∑∑∑up.∑It looks like it's working."                                              ·8   ∑∑∑∑∑MS. PRESCOTT:∑Just give me a minute to look at my
·9   ∑∑∑∑∑"Okay.∑You can go back to doing hour rounds."                               ·9   ∑∑∑notes, please.
10   Q.∑∑Okay.∑And so did that happen on 6 Old in August of 2016                      10   ∑∑∑∑∑And, Paul, do you know if that e-mail has gone out?
11   ∑∑∑at any point?                                                                 11   ∑∑∑∑∑MR. O'NEILL:∑Yeah.∑Yeah, I just sent it to you.
12   A.∑∑I wouldn't know that without seeing reports or logs or                       12   ∑∑∑∑∑MS. PRESCOTT:∑Okay.∑Thanks.
13   ∑∑∑testimony from somebody saying that.                                          13   ∑∑∑∑∑MR. O'NEILL:∑It's two e-mails separate.
14   ∑∑∑∑∑I mean, I wasn't there.                                                     14   BY MS. PRESCOTT:
15   Q.∑∑Okay.∑So, what about occasions where there was people                        15   Q.∑∑Commander, do you know on how many occasions the folks
16   ∑∑∑who refused overtime or there weren't enough -- would                         16   ∑∑∑who staff the sixth floor of Old Wayne in 2016 asked for
17   ∑∑∑there be times where people didn't have enough officers                       17   ∑∑∑assistance with cameras that weren't operative?
18   ∑∑∑to have rovers and the right number of people to be                           18   ∑∑∑∑∑I don't know if I asked that before.
19   ∑∑∑doing continuous rounds, even if maybe the cameras were                       19   A.∑∑I believe you did.
20   ∑∑∑off?                                                                          20   ∑∑∑∑∑And, no, I don't know that.
21   A.∑∑We're under a jail consent decree that requires minimum                      21   Q.∑∑Could you testify as to how frequently the cameras were
22   ∑∑∑staffing.∑And regardless of the staffing or the                               22   ∑∑∑inoperative on 6 Old in the month of August 2016?
23   ∑∑∑overtime positions, we have positions that we can cut,                        23   A.∑∑From what I'm told, it was a lot.∑I mean, I wasn't
24   ∑∑∑but we have to maintain certain minimum security                              24   ∑∑∑there, so I don't know, but it was frequent that there
25   ∑∑∑staffing positions and rounds is like the highest                             25   ∑∑∑were mechanical issues.
                                                                            Page 31                                                                           Page 33
·1   ∑∑∑priority.                                                                     ·1   Q.∑∑And when the cameras were operative, were there times
·2   ∑∑∑∑∑In fact, this is in 2016.∑But, I mean, even                                 ·2   ∑∑∑where they would be on but they wouldn't rotate through
·3   ∑∑∑recently, I've been ordered in at home, off duty on days                      ·3   ∑∑∑as well?∑Like they wouldn't shift the view so that they
·4   ∑∑∑off, that I'm not eligible to be paid for, to report in                       ·4   ∑∑∑were showing all of the areas?
·5   ∑∑∑to the jail to work those security positions because we                       ·5   A.∑∑I don't have specific knowledge of that.∑That could be
·6   ∑∑∑cannot staff them.                                                            ·6   ∑∑∑an issue, but I don't know that.∑That would be for
·7   ∑∑∑∑∑So, when it comes to rounds, the rounds are to be                           ·7   ∑∑∑Corporal Foreman or Lieutenant Bates.
·8   ∑∑∑maintained no matter what.∑There's minimum staffing for                       ·8   Q.∑∑Okay.∑Fair enough.
·9   ∑∑∑the floors.∑Even if the utility or rover officer is                           ·9   ∑∑∑∑∑How about -- do you know whether they -- the
10   ∑∑∑cut, those floor officers are responsible for                                 10   ∑∑∑cameras were -- when they were on and when they were
11   ∑∑∑maintaining those minimum required rounds.                                    11   ∑∑∑shifting the view, had good visibility?
12   ∑∑∑∑∑And I'm not aware of any time, ever, that we've                             12   ∑∑∑∑∑In other words, the quality of the picture, could
13   ∑∑∑been below staffing to where we can't maintain the                            13   ∑∑∑you comment on it in August of 2017 on 6 Old?
14   ∑∑∑minimum required rounds up until the point I've even                          14   A.∑∑I know that I was in charge of a unit that had to do
15   ∑∑∑come in to work then.                                                         15   ∑∑∑some investigating at that time, and we would routinely
16   Q.∑∑Okay.∑That's helpful.                                                        16   ∑∑∑receive video, when it was working, of incidents that
17   ∑∑∑∑∑A couple of moments ago, you said on 5 and 6,                               17   ∑∑∑occurred in the jail, and we were able to use it to
18   ∑∑∑rounds are either 30 minutes or continuous?∑Is that                           18   ∑∑∑prosecute cases, to investigate, you know, issues.
19   ∑∑∑with the whole floors?                                                        19   ∑∑∑∑∑So, the video was quality enough that you could use
20   A.∑∑Yes.∑But the reason being is because of maximum                              20   ∑∑∑it.
21   ∑∑∑security and discipline.                                                      21   Q.∑∑You could see what was going on?
22   Q.∑∑Okay.∑And what about protective custody?∑Is that in                          22   A.∑∑Yes.
23   ∑∑∑5 or 6 as well?                                                               23   Q.∑∑Okay.∑Was it better or worse at night when the light
24   A.∑∑They do have protective custody wards on 5 and 6.                            24   ∑∑∑might be different?
25   Q.∑∑And is this -- what you're testifying about, the                             25   A.∑∑Not really -- I don't really remember or recall there

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Case 2:19-cv-10027-GAD-APP ECF No. 169-3, PageID.3122 Filed 07/10/23 Page 11 of 19

BULIFANT, COMMANDER ALAN
01/12/2021                                                                                                                                                Pages 34–37
                                                                            Page 34                                                                            Page 36
·1   ∑∑∑being a difference between, you know, night or -- light                       ·1   ∑∑∑one unit in 2009 to another investigative unit.∑So,
·2   ∑∑∑or day -- light or dark because you would think with                          ·2   ∑∑∑then in 2017, I got sent to Jail Division I, which does
·3   ∑∑∑dark you wouldn't see as good, but then sometimes you                         ·3   ∑∑∑not have cameras, for a three-month period.
·4   ∑∑∑would have glare.                                                             ·4   ∑∑∑∑∑I went back out to another investigative unit.
·5   ∑∑∑∑∑So, I would say it was equal quality either way.                            ·5   ∑∑∑∑∑And then in 2018, October, I was made commander,
·6   Q.∑∑Okay.∑We talked about the video equipment for a bit.                         ·6   ∑∑∑and I was placed at Jail I.∑I just came to Jail II here
·7   ∑∑∑And you said that you see the DVR equipment as sort of a                      ·7   ∑∑∑in June of this year.∑And as the commander there, like
·8   ∑∑∑different class of issues.                                                    ·8   ∑∑∑I said, there were times we are still having camera
·9   ∑∑∑∑∑What was going on with the DVR equipment in 2016?                           ·9   ∑∑∑issues.
10   A.∑∑There were mechanical issues with it, maintenance issues                     10   Q.∑∑Okay.∑There are policies in place with regard to
11   ∑∑∑where it would fail.∑It would come back.∑It would go                          11   ∑∑∑retaining video evidence; correct?∑Like there's a
12   ∑∑∑down.                                                                         12   ∑∑∑certain number of days that video is kept, according to
13   Q.∑∑Do you know of times that it was inoperative just                            13   ∑∑∑policy; is that right?
14   ∑∑∑because people would unplug it?                                               14   A.∑∑I'm not aware of a sheriff's office policy about that.
15   A.∑∑No, I do not -- I'm not aware of that.                                       15   ∑∑∑∑∑What number are you referring to?
16   ∑∑∑∑∑I know that there were times I would get cases to                           16   Q.∑∑Number 7.
17   ∑∑∑investigate and there would be no video available.∑So,                        17   ∑∑∑∑∑Oh, policy.
18   ∑∑∑it wasn't working.                                                            18   ∑∑∑∑∑I was referring to -- I was talking about the Dep
19   Q.∑∑Okay.                                                                        19   ∑∑∑Notice.
20   A.∑∑So, I'm aware of times that it failed.                                       20   ∑∑∑∑∑So, in the Dep Notice we said that speaking to the
21   Q.∑∑So, how long of a period was that kind of thing going                        21   ∑∑∑Defendant's policies and practices regarding retention,
22   ∑∑∑on, or maybe it's still going on?                                             22   ∑∑∑reuse, destruction or disposition of video.
23   A.∑∑Yeah, I mean, there's been camera issues -- we still                         23   ∑∑∑∑∑Do you know of any policies that fit that category?
24   ∑∑∑have them.∑We had a power outage a few days ago and                           24   A.∑∑The policy for that category is, we're limited by the
25   ∑∑∑they were down for a while.∑So, Corporal Foreman was                          25   ∑∑∑retention storage capacity.
                                                                            Page 35                                                                            Page 37
·1   ∑∑∑able to get them fixed.                                                       ·1   ∑∑∑∑∑In the original system, the video would only last
·2   Q.∑∑How far back does this issue go?∑Through your whole                          ·2   ∑∑∑like five or six days and then it would rewrite over
·3   ∑∑∑career, or did it really like one day in 2010 everything                      ·3   ∑∑∑itself.
·4   ∑∑∑went haywire, or what was your memory?                                        ·4   ∑∑∑∑∑Now, in some of the newer systems that they've
·5   A.∑∑Yeah.∑I'm not sure.∑I actually was an officer at that                        ·5   ∑∑∑updated since then, it now has about a 30-day capacity.
·6   ∑∑∑jail, but when I worked there, there weren't cameras                          ·6   ∑∑∑∑∑But, as far as us, I mean, we never went in and
·7   ∑∑∑installed there yet.∑And so when I left, I went out to                        ·7   ∑∑∑deleted or destroyed anything.∑It was just -- they
·8   ∑∑∑an investigative unit as a detective and so they were                         ·8   ∑∑∑would rewrite over itself.
·9   ∑∑∑installed at that time and I was so out of the jail                           ·9   ∑∑∑∑∑So, if an incident occurred, as soon as you find
10   ∑∑∑system that I didn't known what was going.                                    10   ∑∑∑out about the incident, you would look for video.∑You
11   ∑∑∑∑∑So, as far as how far back it goes, I don't know.                           11   ∑∑∑would download it.∑You would save it to a disc.∑You
12   ∑∑∑Corporal Foreman or Lieutenant Bates may be able to                           12   ∑∑∑would save it on -- you know, wherever you could save
13   ∑∑∑answer that.                                                                  13   ∑∑∑it.∑You know, when you forward a copy over to the
14   Q.∑∑After you came back to Wayne County Jail, was -- were                        14   ∑∑∑investigative unit to investigate it, they have a copy
15   ∑∑∑the cameras a problem when you returned from the                              15   ∑∑∑of the video.∑And then that video is kept with that
16   ∑∑∑investigative unit?                                                           16   ∑∑∑investigative unit file for -- and it depends on the
17   A.∑∑Yeah.                                                                        17   ∑∑∑case.
18   ∑∑∑∑∑Like I said, there were times the camera system is                          18   ∑∑∑∑∑I mean, in terms of a CSC, then that video would be
19   ∑∑∑inoperable.∑It's an issue.∑I mean, where it doesn't                           19   ∑∑∑kept forever.
20   ∑∑∑work.∑It's got maintenance issues.∑It's got                                   20   Q.∑∑Sure.
21   ∑∑∑compatibility issues.∑It's -- we weren't supposed to be                       21   A.∑∑So, when you talk about retention of evidence, you know,
22   ∑∑∑in this jail, and they weren't supposed to be installed                       22   ∑∑∑I look at that as downloaded evidence that you've
23   ∑∑∑in the building that was built in the 1920s.                                  23   ∑∑∑actually recovered or evidence that's on a DVR that you
24   Q.∑∑So, when did you come back from that investigative unit?                     24   ∑∑∑may or may not know about that you need to get off
25   A.∑∑It's a little more complicated that that.∑I went from                        25   ∑∑∑before it's written over.

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Case 2:19-cv-10027-GAD-APP ECF No. 169-3, PageID.3123 Filed 07/10/23 Page 12 of 19

BULIFANT, COMMANDER ALAN
01/12/2021                                                                                                                                               Pages 38–41
                                                                           Page 38                                                                            Page 40
·1   Q.∑∑Would there be an obligation to record in handwriting                       ·1   ∑∑∑that you hear, see, observe, have knowledge of.
·2   ∑∑∑things -- like, in other words, make a written record of                     ·2   ∑∑∑∑∑And so I think it's -- it may be covered in a more
·3   ∑∑∑information obtained from a video?                                           ·3   ∑∑∑broader sense where it's not specifically because you've
·4   ∑∑∑∑∑In other words, if somebody is at a duty station                           ·4   ∑∑∑obtained it, you know, via video.
·5   ∑∑∑and they see a prisoner violating a rule or something on                     ·5   Q.∑∑Do you know whether in practice the officers on 6 Old in
·6   ∑∑∑the video, do they then have to record all of those                          ·6   ∑∑∑August 2016 were making reports of that sort, of the
·7   ∑∑∑observations in writing, or is the video kept, if it's                       ·7   ∑∑∑things that they were observing, either from audio or
·8   ∑∑∑needed, for tickets or discipline?∑How did that work?                        ·8   ∑∑∑visual or even from their rounds?
·9   A.∑∑There's a lot of ways that could go on.                                     ·9   A.∑∑Well, yeah.
10   ∑∑∑∑∑I mean, if you're -- if I am watching video, and I                         10   ∑∑∑∑∑I mean, I know, as the commanding officer of the
11   ∑∑∑see somebody commit a crime, commit a rule violation, as                     11   ∑∑∑investigative unit at that time, that there were times
12   ∑∑∑a police officer, I can certainly write down in my                           12   ∑∑∑where we received incident reports from officers that
13   ∑∑∑report, in my log entry that, hey, I witnessed this via                      13   ∑∑∑worked on 6 Old where they witnessed things and they
14   ∑∑∑video.∑I observed this.∑I saw this go on, live or even                       14   ∑∑∑documented those things.∑And they had log entries in
15   ∑∑∑in recording.                                                                15   ∑∑∑the JMS system and JMS reports for like disciplinary
16   ∑∑∑∑∑As far as the investigator, like, okay, they                               16   ∑∑∑rule violations or just informational.
17   ∑∑∑received the disc.∑Okay.∑Now, they watch the disc, and                       17   ∑∑∑∑∑So, I know that that was done during that time.
18   ∑∑∑they say, "I've reviewed the disc, and I realized that                       18   Q.∑∑Okay.∑Do you know if any of those -- I think it was IMS
19   ∑∑∑this occurred.∑I saw this at this time on this disc."                        19   ∑∑∑at the time and now it's JMS.
20   Q.∑∑Is there a written policy that speaks to either of those                    20   ∑∑∑∑∑Do you know if any of those logs still exist from
21   ∑∑∑two circumstances, where someone witnesses something on                      21   ∑∑∑2016?
22   ∑∑∑a video or later is the investigator and reviews the                         22   A.∑∑I don't have specific knowledge of that system.∑That
23   ∑∑∑video, that says here is where you shall write it down                       23   ∑∑∑would be Corporal Foreman.
24   ∑∑∑or here is where you must record it?                                         24   Q.∑∑And would you able to speak to any officers specifically
25   A.∑∑I didn't review the report-writing policy, but I know                       25   ∑∑∑making any particular reports on Old 6 in August 2016?
                                                                           Page 39                                                                            Page 41
·1   ∑∑∑just off the top of my head that one of the things                           ·1   A.∑∑No.∑Not unless somebody, you know, showed me something.
·2   ∑∑∑required of a police officer is, you write down what you                     ·2   Q.∑∑Some of the officers testified, who were working on Old
·3   ∑∑∑observe, what you see, what you hear, what you witness,                      ·3   ∑∑∑6 on the evening of the assault of my client, that --
·4   ∑∑∑what somebody reports to you that they have seen, heard                      ·4   ∑∑∑well, actually, it was, I think, Sergeant Mills.
·5   ∑∑∑or witnessed.                                                                ·5   ∑∑∑∑∑Are you familiar with Edith Mills?
·6   Q.∑∑Okay.∑So, I'm on Number 8 of the list, and it says:                         ·6   A.∑∑Yes.
·7   ∑∑∑∑∑∑∑∑"Speaking to the Defendant's policies and                               ·7   Q.∑∑So, she was one of the first people to know about the
·8   ∑∑∑∑∑practices in place in August of 2016, applicable                           ·8   ∑∑∑assault, and she went with a partner to the DVR room to
·9   ∑∑∑∑∑to the sixth floor, including Ward 10, with                                ·9   ∑∑∑go look for footage of what happened to my client.
10   ∑∑∑∑∑regard to the use of logs, records or other                                10   ∑∑∑∑∑She testified that when they arrived, and her
11   ∑∑∑∑∑documents of any kind to record information                                11   ∑∑∑partner testified, that the DVR system was -- was
12   ∑∑∑∑∑obtained from electronic, video, photographic                              12   ∑∑∑unplugged.
13   ∑∑∑∑∑and audio recordings, armband checks or doors."                            13   ∑∑∑∑∑Do you know whether that's the case or not?
14   ∑∑∑∑∑So, is there any policy number that you think                              14   A.∑∑No, I don't.
15   ∑∑∑applies to or is included in what I just read out, which                     15   Q.∑∑Do you have any facts suggesting that there's something
16   ∑∑∑is paragraph 8 of the Deposition Notice?                                     16   ∑∑∑false about that testimony or anything that you know of
17   A.∑∑I'm trying to think.                                                        17   ∑∑∑that casts doubt on that testimony?
18   ∑∑∑∑∑I don't think there's necessarily a specific                               18   A.∑∑No.∑I'm not aware of anything either way.
19   ∑∑∑written policy that covers that exact situation. I                           19   Q.∑∑Okay.∑She and her partner further testified that, when
20   ∑∑∑think it's more of a general thing of, like I said a                         20   ∑∑∑they went back, it looked like it had been eight days
21   ∑∑∑minute ago, as a police officer, you're supposed to                          21   ∑∑∑that the machine had been unplugged because they went
22   ∑∑∑document what occurs.∑And if you get that knowledge                          22   ∑∑∑back to when the date was on the last images that were
23   ∑∑∑from a video or from live monitoring of a video screen                       23   ∑∑∑saved on the DVR.
24   ∑∑∑or from an audio recording, then you document that.                          24   ∑∑∑∑∑Do you know whether that's true or not?
25   ∑∑∑∑∑And you're required to document, you know, things                          25   A.∑∑Going just off of the facts that you just stated to me,

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Case 2:19-cv-10027-GAD-APP ECF No. 169-3, PageID.3124 Filed 07/10/23 Page 13 of 19

BULIFANT, COMMANDER ALAN
01/12/2021                                                                                                                                              Pages 42–45
                                                                           Page 42                                                                           Page 44
·1   ∑∑∑I don't know how they could know if that's true or not                       ·1   ∑∑∑secure it based on your prior testimony; correct?
·2   ∑∑∑because -- just because it's unplugged now but yet they                      ·2   A.∑∑Yes.
·3   ∑∑∑didn't find video for eight days, how do they know                           ·3   Q.∑∑And do you know whether any video was ever able to be
·4   ∑∑∑somebody didn't know the video wasn't working and went                       ·4   ∑∑∑found of the incident on October -- excuse me -- August
·5   ∑∑∑back and tried to work on it or something and                                ·5   ∑∑∑24th, 2016, and the sexual assault of my client?
·6   ∑∑∑inadvertently or accidentally or -- maybe they even                          ·6   A.∑∑No.∑I'm not aware of any video ever being found with
·7   ∑∑∑interpreted the wrong wire.                                                  ·7   ∑∑∑regards to this particular attack.
·8   ∑∑∑∑∑I think that's an assumption that we don't know for                        ·8   ∑∑∑∑∑I know that there were videos found of other
·9   ∑∑∑sure is correct; that it had been unplugged for eight                        ·9   ∑∑∑incidents and other attacks that occurred because we
10   ∑∑∑days.                                                                        10   ∑∑∑used those to successfully, you know, prosecute those
11   Q.∑∑Okay.∑So, it's possible that it was taken out of use,                       11   ∑∑∑issues.
12   ∑∑∑for example, to work on it?                                                  12   Q.∑∑My client --
13   A.∑∑I guess.∑Again, I'm not a repair person.∑I don't know.                      13   A.∑∑And it works.∑It's a great tool.
14   Q.∑∑Fair enough.                                                                14   Q.∑∑Yeah.
15   ∑∑∑∑∑I guess what I'm asking is, were there times that                          15   ∑∑∑∑∑And my client -- I mean, the assailant in this
16   ∑∑∑the DVRs were taken offline in order to work on them?                        16   ∑∑∑situation tried to turn the rape around and accuse my
17   A.∑∑I wouldn't know that.∑That would be a Corporal Foreman                      17   ∑∑∑client of rape.
18   ∑∑∑issue.                                                                       18   ∑∑∑∑∑So, another thing that they can be used for is
19   ∑∑∑∑∑I don't operate the DVRs.∑I don't have access to                           19   ∑∑∑disproving allegations, right, against officers, against
20   ∑∑∑them.∑I don't have the -- you know, the passwords and                        20   ∑∑∑other prisoners?
21   ∑∑∑things.∑That's not something that I do.                                      21   A.∑∑It could be part of that, just like, you know, DNA
22   Q.∑∑Okay.∑Relative to -- I mean, it certainly would have                        22   ∑∑∑evidence and testimony and, you know, other evidence.
23   ∑∑∑been required policy that -- I mean, that the DVR be                         23   Q.∑∑And so it sounds like you found the videos to be a
24   ∑∑∑used while -- to the extent it could be; right?∑I mean,                      24   ∑∑∑useful tool for prosecution and also security and
25   ∑∑∑there is -- that's the expectation?                                          25   ∑∑∑safety?
                                                                           Page 43                                                                           Page 45
·1   A.∑∑Well, yeah.                                                                 ·1   A.∑∑I find all evidence to be a useful tool for all cases.
·2   ∑∑∑∑∑I mean, if you have equipment that's operable, of                          ·2   ∑∑∑∑∑I mean, it would be great if we had a camera
·3   ∑∑∑course you want to use it.                                                   ·3   ∑∑∑covering every inch of the planet at all times, but it
·4   ∑∑∑∑∑I want to make sure you understand, too.∑You're                            ·4   ∑∑∑would also kind of be scary, too.∑I mean, it's all a
·5   ∑∑∑not -- you know, you're not talking about like a DVR at                      ·5   ∑∑∑trade-off.∑I mean, the inmates aren't necessarily happy
·6   ∑∑∑your home.∑You're talking about banks and banks and,                         ·6   ∑∑∑about the cameras when, you know, they want to take a
·7   ∑∑∑you know, rows of DVRs all plugged in together in a                          ·7   ∑∑∑shower, use the toilet or things like that.
·8   ∑∑∑giant network.                                                               ·8   ∑∑∑∑∑So, you've constantly got this trade-off of
·9   Q.∑∑Uh-huh.                                                                     ·9   ∑∑∑where -- you know, just like out in the street, we're
10   A.∑∑You know, we're not talking about just one -- one item                      10   ∑∑∑worried about protecting individuals and their civil
11   ∑∑∑here.∑There's a lot there.                                                   11   ∑∑∑rights, but then we're also worried about providing
12   Q.∑∑It's a fair point.                                                          12   ∑∑∑security.
13   ∑∑∑∑∑Do you have any idea -- and I'm on Number 9 of the                         13   Q.∑∑Why do -- given that -- the privacy interests at stake
14   ∑∑∑Deposition Notice.                                                           14   ∑∑∑for people going to the bathroom or picking their nose
15   ∑∑∑∑∑It asks about preservation and disposition of the                          15   ∑∑∑or whatever they're doing in their cell, why are there
16   ∑∑∑evidence of videos of my client in August of 2016.                           16   ∑∑∑cameras?∑Why does the jail come down -- it sounds like
17   ∑∑∑∑∑Do you know why it would be that the staff --                              17   ∑∑∑it's expensive.∑They're a headache.∑They're half on
18   ∑∑∑Sergeant Mills would be saying, "We couldn't find any                        18   ∑∑∑and they're half off.
19   ∑∑∑operative pictures going back eight days before the                          19   ∑∑∑∑∑Why use them?
20   ∑∑∑assault, and in between Lieutenant Bates would be                            20   A.∑∑Well, if they save one person -- if they prevent one
21   ∑∑∑auditing and seeing that the equipment was plugged in"?                      21   ∑∑∑attack, if they prevent one suicide, if they prevent one
22   ∑∑∑∑∑Do you have any facts about any of that?                                   22   ∑∑∑officer from being hurt, then aren't they worth it? I
23   A.∑∑No.                                                                         23   ∑∑∑mean, we --
24   Q.∑∑It would be policy of the department, if a sexual                           24   Q.∑∑Or one person from being raped?
25   ∑∑∑assault was reported, to go immediately to the DVR to                        25   A.∑∑We care about the individuals, the inmates and the

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Case 2:19-cv-10027-GAD-APP ECF No. 169-3, PageID.3125 Filed 07/10/23 Page 14 of 19

BULIFANT, COMMANDER ALAN
01/12/2021                                                                                                                                                    Pages 46–49
                                                                                Page 46                                                                            Page 48
·1   ∑∑∑staff, that work in our facility.                                                 ·1   ∑∑∑justice.
·2   ∑∑∑∑∑We do everything that we possibly can to keep them                              ·2   ∑∑∑∑∑So, it gets done.∑The reports get written.∑They
·3   ∑∑∑safe.                                                                             ·3   ∑∑∑get generated.∑They get sent over to the investigative
·4   ∑∑∑∑∑That's why we've got medical care.∑That's why we                                ·4   ∑∑∑unit, which was my unit that I was in charge of.∑We
·5   ∑∑∑send people out to the hospital.∑We send people to                                ·5   ∑∑∑vigorously pursued and investigated this crime up and to
·6   ∑∑∑mental health services.                                                           ·6   ∑∑∑even giving polygraph examinations to both paries.∑And
·7   ∑∑∑∑∑You know, we physically intervene when we need to                               ·7   ∑∑∑we were able to get a successful prosecution on this
·8   ∑∑∑to save other people.∑I, as an officer, have been                                 ·8   ∑∑∑issue.
·9   ∑∑∑injured, helping to prevent inmates from hurting each                             ·9   Q.∑∑I don't disagree.∑I know that there were some steps
10   ∑∑∑other.                                                                            10   ∑∑∑taken after my client was raped, successful prosecution
11   ∑∑∑∑∑I have personally stopped sexual assaults, when I                               11   ∑∑∑of another inmate.
12   ∑∑∑was an officer, in that same jail.                                                12   A.∑∑I wish I could prevent every attack before it occurred.
13   ∑∑∑∑∑We do everything that we possibly can to keep                                   13   ∑∑∑They --
14   ∑∑∑people safe.∑And, you know, if the cameras can be part                            14   Q.∑∑My question was just on that.
15   ∑∑∑of that, and if they save one person, then they were                              15   ∑∑∑∑∑Yeah.∑My question was what you know about any
16   ∑∑∑worth all the aggravation and trouble that they may                               16   ∑∑∑action taken before the rape occurred.
17   ∑∑∑cause when they don't work.                                                       17   ∑∑∑∑∑You said everything that was done that could be
18   Q.∑∑Do you think everything possible was done to keep the                            18   ∑∑∑done was done.
19   ∑∑∑cameras in 6 Cell -- or -- excuse me -- 6 Old working in                          19   ∑∑∑∑∑So, I was wondering what you were referring to, to
20   ∑∑∑August 2016 to save my client from being raped?                                   20   ∑∑∑stop the rape from happening in the first place.
21   A.∑∑Under the conditions that we're under with a building                            21   ∑∑∑∑∑MR. O'NEILL:∑I just want to place an objection.
22   ∑∑∑that was built in the twenties, with the budget                                   22   ∑∑∑That's outside the scope of subjects of the Deposition
23   ∑∑∑constraints, with the fact that we weren't supposed to                            23   ∑∑∑Notice.
24   ∑∑∑be there -- we were supposed to be into a new building                            24   ∑∑∑∑∑But the witness can answer if he knows.
25   ∑∑∑by that time.∑I believe that the Wayne County Sheriff's                           25   A.∑∑I can't prevent something that I don't know was going to
                                                                                Page 47                                                                            Page 49
·1   ∑∑∑Office and its staff members did everything that they                             ·1   ∑∑∑occur.∑If I could, I would prevent every crime that's
·2   ∑∑∑could to prevent not only that, but any and all                                   ·2   ∑∑∑about to happen, and I would also buy a lottery ticket
·3   ∑∑∑altercations, rapes, suicides, homicides, anything that                           ·3   ∑∑∑for tonight.∑And, unfortunately, I can't do either. I
·4   ∑∑∑could possibly occur, because we care about protecting                            ·4   ∑∑∑mean, I can buy a lottery ticket.∑I just won't win.
·5   ∑∑∑life and safety.                                                                  ·5   BY MS. PRESCOTT:
·6   Q.∑∑Okay.∑So, it sounds like your point is, given the                                ·6   Q.∑∑Are there any steps you can identify?
·7   ∑∑∑constraints and that there's budgetary constraints that                           ·7   A.∑∑No.∑I'm sorry.∑There are -- you can't stop
·8   ∑∑∑are practical limits on what can be done?∑Was that part                           ·8   ∑∑∑something you don't know.∑And as long as you follow the
·9   ∑∑∑of your answer?                                                                   ·9   ∑∑∑policy and procedures and have your due diligence, what
10   A.∑∑Yes.                                                                             10   ∑∑∑more can we ask?
11   Q.∑∑And then you said, "They did everything they could."                             11   Q.∑∑Well, you did it, didn't you?∑You testified that you
12   ∑∑∑∑∑Do you know of any steps any officers took to                                   12   ∑∑∑stopped a sexual assault from happening.
13   ∑∑∑protect my client from being raped on August 24th, 2016?                          13   A.∑∑Because I was alerted that it was happening by the man
14   A.∑∑Apparently, from reviewing the internal affairs record,                          14   ∑∑∑yelling.∑I heard it in my duty station.∑I was able to
15   ∑∑∑once the -- an officer was notified, which, from my                               15   ∑∑∑go down there with my partner, catch him in the act,
16   ∑∑∑recollection was the following day, I believe, going to                           16   ∑∑∑call for help, get in and physically intervene because
17   ∑∑∑law library, they immediately got him help.∑They got                              17   ∑∑∑he alerted me to the issue.
18   ∑∑∑him medical treatment, which -- you know, you have to                             18   Q.∑∑Okay.
19   ∑∑∑worry about communicable diseases.∑You have to worry                              19   A.∑∑You know, and --
20   ∑∑∑about, you know, sexually transmitted diseases, HIV,                              20   Q.∑∑Any steps like that that, for example --
21   ∑∑∑just, you know, trauma, all kinds of things.                                      21   ∑∑∑∑∑MR. O'NEILL:∑Wait.∑You're interrupting the
22   ∑∑∑∑∑So, by that point, they do what police officers do.                             22   ∑∑∑witness.
23   ∑∑∑If they can't stop and prevent the attack, what do we                             23   BY MS. PRESCOTT:
24   ∑∑∑do?∑We get the victim care.∑We try to preserve and                                24   Q.∑∑Oh, okay.∑Let's hear --
25   ∑∑∑secure evidence so that we can bring the guilty to                                25   A.∑∑And, in particular, the incident that I'm recalling from

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Case 2:19-cv-10027-GAD-APP ECF No. 169-3, PageID.3126 Filed 07/10/23 Page 15 of 19

BULIFANT, COMMANDER ALAN
01/12/2021                                                                                                                                                  Pages 50–53
                                                                              Page 50                                                                            Page 52
·1   ∑∑∑my much younger days, not that far but much younger                             ·1   ∑∑∑∑∑MR. O'NEILL:∑I was going to send them to you so
·2   ∑∑∑days, was on a small side unit on one of the old sides                          ·2   ∑∑∑you could send all of them together with them
·3   ∑∑∑like that, but on the opposite end.                                             ·3   ∑∑∑Bates-numbered.
·4   ∑∑∑∑∑So, it would have been a 1 Ward instead of a 10                               ·4   ∑∑∑∑∑MS. PRESCOTT:∑Yeah.∑I just have a couple of
·5   ∑∑∑Ward.∑But it is an equal distance amount of space from                          ·5   ∑∑∑questions.∑We don't even need the -- I mean, the policy
·6   ∑∑∑the duty station to the 1 Ward and the 10 Ward.                                 ·6   ∑∑∑will help but the bottom line is we have an eight-page
·7   ∑∑∑∑∑So, I'm in the duty station and I hear the man                                ·7   ∑∑∑document.∑Issue date is 11-10-15, and it's Document
·8   ∑∑∑screaming on the 1 Ward and I'm able to go down and                             ·8   ∑∑∑Number 14.12.
·9   ∑∑∑intervene.∑You know, you've got the same amount of                              ·9   BY MS. PRESCOTT:
10   ∑∑∑distance on the tenth floor.∑So, that --                                        10   Q.∑∑Is that correct, sir?∑Commander?
11   Q.∑∑Okay.∑So, your point was that if someone is able to                            11   A.∑∑Yes.
12   ∑∑∑scream, you are able to rush to their aid?                                      12   Q.∑∑Okay.∑Okay.∑I just have a quick question about this
13   A.∑∑Yes.                                                                           13   ∑∑∑one on page 4.
14   Q.∑∑Okay.∑And that's an example of an officer using his                            14   ∑∑∑∑∑And right where the cursor is, but you may also
15   ∑∑∑senses, his common sense and his sense of duty --                               15   ∑∑∑find it in the middle of the page, it says:
16   A.∑∑Yeah.                                                                          16   ∑∑∑∑∑∑∑∑"At no time shall more than 60 minutes
17   Q.∑∑-- to take care of somebody.                                                   17   ∑∑∑∑∑elapse before rounds."
18   ∑∑∑∑∑Anything you know about the officers in this                                  18   ∑∑∑∑∑And then it's also in bold a little bit higher.
19   ∑∑∑scenario that we haven't covered with taking care?                              19   ∑∑∑∑∑The other -- keeping that in mind, the other thing
20   A.∑∑No.                                                                            20   ∑∑∑you did send me is 14.14, a six-page document, issue
21   ∑∑∑∑∑MS. PRESCOTT:∑That's all the questions I have                                 21   ∑∑∑date 10-2-06, and it talks about continuous rounds on
22   ∑∑∑except for the policies, Paul.                                                  22   ∑∑∑Floors 5 and 6.∑I have pulled it up, and we have it
23   ∑∑∑∑∑So, could we -- and I may not have any about the                              23   ∑∑∑under 1(b) where I've highlighted the cursor on the
24   ∑∑∑policies.∑So, can we take about a ten-minute break?                             24   ∑∑∑screen, but you can also look at it, for day shift.
25   ∑∑∑∑∑MR. O'NEILL:∑Sure.                                                            25   ∑∑∑∑∑There's also a continuous rounds utility officer
                                                                              Page 51                                                                            Page 53
·1   ∑∑∑∑∑MS. PRESCOTT:∑And I'll look at them and I'll --                               ·1   ∑∑∑that's mentioned on the second page.∑It talks about
·2   ∑∑∑you know, the witness can take a break, and we'll come                          ·2   ∑∑∑continuous rounds on 4, 5 and 6.
·3   ∑∑∑back at about 12:22 -- or 2:22.                                                 ·3   ∑∑∑∑∑So, I just want -- my only real question for you
·4   ∑∑∑∑∑MR. O'NEILL:∑Okay.                                                            ·4   ∑∑∑is, given that I have these two policies and one says
·5   ∑∑∑∑∑∑∑(Short recess at 2:12 p.m.)                                                 ·5   ∑∑∑60 minutes, one is a little bit more specific to Floors
·6   ∑∑∑∑∑∑∑∑∑∑∑∑*∑∑*∑∑*                                                                ·6   ∑∑∑5 and 6 and talks about continuous rounds, am I correct
·7   ∑∑∑∑∑∑∑(Record resumed at 2:19 p.m.)                                               ·7   ∑∑∑that the continuous rounds, indeed, are policy for
·8   BY MS. PRESCOTT:                                                                   ·8   ∑∑∑Floors 5 and 6, and the 60-minute rounding is what is
·9   Q.∑∑Commander, I've got up here a document which was just                          ·9   ∑∑∑applicable elsewhere in the building?
10   ∑∑∑sent to me by counsel, and it is Policy 14.12.                                  10   A.∑∑Actually, the rounds policy is -- if the video equipment
11   ∑∑∑∑∑Is that the one you earlier were describing as                                11   ∑∑∑is working, the monitoring equipment is working, it's
12   ∑∑∑applicable to Division II?                                                      12   ∑∑∑60 minutes.
13   A.∑∑Yes.                                                                           13   ∑∑∑∑∑If the video monitoring equipment is not working,
14   Q.∑∑All right.∑It isn't Bates-numbered, but we can -- let's                        14   ∑∑∑it's 30 minutes, no more than 30 minutes, no more than
15   ∑∑∑see.∑It looks like it's eight pages long; is that                               15   ∑∑∑60 minutes.
16   ∑∑∑correct?                                                                        16   ∑∑∑∑∑If the video equipment is not working on the fifth
17   A.∑∑Yes.                                                                           17   ∑∑∑and sixth floor, they have the continuous rounds due to
18   Q.∑∑And the issue --                                                               18   ∑∑∑disciplinary isolation and maximum security.
19   ∑∑∑∑∑MR. O'NEILL:∑Sarah, if it relates to the Bates                                19   Q.∑∑Okay.∑Is that -- and that also applies to the
20   ∑∑∑number, would you give me a day where I can Bates number                        20   ∑∑∑protective custody area?
21   ∑∑∑these two documents and e-mail them to you if you're                            21   A.∑∑They walk the whole floor when they're on continuous
22   ∑∑∑going to make them a part of the record so that we have                         22   ∑∑∑rounds, so they also pass those areas, yes.
23   ∑∑∑Bates-numbered as exhibits to the deposition?                                   23   Q.∑∑Okay.∑So, what is what I've got highlighted on the
24   ∑∑∑∑∑MS. PRESCOTT:∑You mean you're going to send them                              24   ∑∑∑screen when it speaks to a continuous rounds/utility
25   ∑∑∑to John later?                                                                  25   ∑∑∑officer?∑What is that referring to, given that you said

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Case 2:19-cv-10027-GAD-APP ECF No. 169-3, PageID.3127 Filed 07/10/23 Page 16 of 19

BULIFANT, COMMANDER ALAN
01/12/2021                                                                                                                                               Pages 54–57
                                                                           Page 54                                                                            Page 56
·1   ∑∑∑that there might be times when the cameras are working?                      ·1   ∑∑∑implemented or how that was -- when I was out in the
·2   ∑∑∑∑∑Does this not apply if the cameras are working?                            ·2   ∑∑∑street units.
·3   A.∑∑If you go back to the previous page and look at B,                          ·3   Q.∑∑Okay.∑Has the 30-minute rounding in 20- -- or -- excuse
·4   ∑∑∑you'll see that these are definitions.                                       ·4   ∑∑∑me -- on Floors 5 and 6, that's with or without the
·5   Q.∑∑Okay.                                                                       ·5   ∑∑∑cameras being operable, though?
·6   A.∑∑That is a definition of what the fifth and sixth floor                      ·6   A.∑∑We're doing 30-minute rounds in the entire building now.
·7   ∑∑∑continuous rounds/utility officer is.                                        ·7   Q.∑∑And how long has that been going on?
·8   Q.∑∑Okay.∑So, then, let's go to "Procedures, C(1), Day                          ·8   A.∑∑I don't know for certain.∑I know the entire time I've
·9   ∑∑∑Shift and Afternoon Shift."                                                  ·9   ∑∑∑been the commander there -- I want to say at least since
10   ∑∑∑∑∑And then it says:                                                          10   ∑∑∑2018, but it may be longer than that -- is when the
11   ∑∑∑∑∑∑∑∑"Floors 5 and 6 shall have one                                          11   ∑∑∑decision was made that the video system was so up and
12   ∑∑∑∑∑rounds/utility officer shared for continuous                               12   ∑∑∑down frequently that you didn't know when it was up or
13   ∑∑∑∑∑rounds on those floors only."                                              13   ∑∑∑down due to the DVR recording or due to sometimes the
14   A.∑∑Yes.                                                                        14   ∑∑∑cameras not working or not cycling that they just --
15   Q.∑∑So, is that what you meant earlier when you said that                       15   ∑∑∑they went to 30-minute rounds, and that's where we've
16   ∑∑∑there would be continuous rounds done on the sixth floor                     16   ∑∑∑been.
17   ∑∑∑in 2016?                                                                     17   Q.∑∑Okay.∑So, can you speak at all to -- I just want to --
18   A.∑∑Yeah.∑It's -- it's if the video equipment is down, and                      18   ∑∑∑I don't want to belabor it, but I want to go back.
19   ∑∑∑then it's to cover like lunch periods.                                       19   ∑∑∑∑∑So, we talked about the actual routines and
20   Q.∑∑I'm not sure I understood your answer.                                      20   ∑∑∑practices of those who staff the sixth floor in the 2015
21   ∑∑∑∑∑Are you saying there weren't continuous rounds on                          21   ∑∑∑through 2016 era.
22   ∑∑∑4, 5 and 6, or there were?                                                   22   ∑∑∑∑∑So, those two years, '15 and '16.∑And when the
23   A.∑∑If the video monitoring equipment is working -- let me                      23   ∑∑∑functionality of the video equipment was problematic,
24   ∑∑∑see.                                                                         24   ∑∑∑was down, what policy were they following?∑What were
25   ∑∑∑∑∑THE REPORTER:∑I'm sorry?                                                   25   ∑∑∑they doing?
                                                                           Page 55                                                                            Page 57
·1   A.∑∑I'm sorry.∑I'm reading the policy.                                          ·1   ∑∑∑∑∑Were they doing 30-minute rounds, continuous
·2   ∑∑∑∑∑See, this policy here is from 2006.                                        ·2   ∑∑∑rounds, hour rounds?
·3   ∑∑∑∑∑This other one is from 2015.                                               ·3   A.∑∑I don't have the round verification printout in front of
·4   ∑∑∑∑∑So, in 2006, according to this policy, if you look                         ·4   ∑∑∑me, but I believe it was 30-minute rounds.
·5   ∑∑∑at it, there would have been continuous rounds in the                        ·5   Q.∑∑Okay.∑Even though -- and do you think that that was
·6   ∑∑∑fifth and sixth floor.                                                       ·6   ∑∑∑consistent with the expectation, the policy, the
·7   BY MS. PRESCOTT:                                                                ·7   ∑∑∑approval of the sheriff and through his chain of
·8   Q.∑∑Okay.∑But there's no later revision of 14.14 that you                       ·8   ∑∑∑command?
·9   ∑∑∑know of, is there?                                                           ·9   A.∑∑Yeah.
10   A.∑∑No.                                                                         10   ∑∑∑∑∑Because if you look at 14.12 on page 5, Number 8,
11   Q.∑∑So, as far as you know, the 10-2-06 document is the                         11   ∑∑∑at the very bottom of Number 8 there, it says:
12   ∑∑∑policy as of 20- -- well, as of any time; right?                             12   ∑∑∑∑∑∑∑∑"The housing units where the malfunctioning
13   ∑∑∑There's no later policy.                                                     13   ∑∑∑∑∑occurred shall revert to half-hour rounds until
14   A.∑∑Well, yeah.∑You've got the rounds policy now.                               14   ∑∑∑∑∑the video monitoring equipment has been repaired
15   ∑∑∑∑∑Like today.∑We're doing 30-minute rounds.∑We're                            15   ∑∑∑∑∑and is in full operation."
16   ∑∑∑not doing continuous rounds on 5 and 6.                                      16   Q.∑∑Fair.
17   ∑∑∑∑∑So, you've got the newer -- the round -- the 14.12.                        17   ∑∑∑∑∑But your point was they were doing half-hour
18   ∑∑∑∑∑So, like even today, we're doing 30-minute rounds                          18   ∑∑∑rounds.
19   ∑∑∑now.∑We're not doing continuous.                                             19   ∑∑∑∑∑You think they were doing half-hour rounds with or
20   Q.∑∑Okay.∑Do you know of any -- who decided that 14.14, as                      20   ∑∑∑without the video monitoring in 2015 and '16?
21   ∑∑∑it's written here, which talks about the continuous                          21   A.∑∑No.∑That's not what I said.∑I said since 2018.
22   ∑∑∑rounding on 4, 5 and 6 -- I've just highlighted it --                        22   Q.∑∑Okay.∑I keep getting back to my Number 2, which is the
23   ∑∑∑wouldn't be what was done?∑Instead, it would be                              23   ∑∑∑Number 2 paragraph of the Dep Notice, and that's why
24   ∑∑∑30-minute rounds?                                                            24   ∑∑∑we're crossing -- talking.
25   A.∑∑I don't know how that decision -- when that was                             25   ∑∑∑∑∑It's speaking about the years 2015 and 2016.

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Case 2:19-cv-10027-GAD-APP ECF No. 169-3, PageID.3128 Filed 07/10/23 Page 17 of 19

BULIFANT, COMMANDER ALAN
01/12/2021                                                                                                                                              Pages 58–61
                                                                           Page 58                                                                           Page 60
·1   ∑∑∑And --                                                                       ·1   A.∑∑I would say this policy, 14.12, is approved by Chief
·2   A.∑∑And this round verification policy was written in                           ·2   ∑∑∑Dunlap in March of 2016.∑He signs it and he says that
·3   ∑∑∑November of '15 and signed by the chief in March of '16.                     ·3   ∑∑∑is the rounds policy.
·4   Q.∑∑Okay.∑So, let's talk about March of 2016 through                            ·4   ∑∑∑∑∑This is the Security Division II, Floor Security
·5   ∑∑∑October of 2016.                                                             ·5   ∑∑∑Rounds Policy.
·6   ∑∑∑∑∑What was going on on the sixth floor if the video                          ·6   Q.∑∑Okay.∑And .14 is the Security Video Monitoring Policy.
·7   ∑∑∑equipment was working?                                                       ·7   ∑∑∑∑∑So, did anyone ever --
·8   A.∑∑Hour rounds.                                                                ·8   A.∑∑From 2006.
·9   Q.∑∑I thought you said half-hour rounds?                                        ·9   Q.∑∑-- say, "We don't follow 14.14 any more," that you know
10   A.∑∑In 2016 or 2018?                                                            10   ∑∑∑of?
11   Q.∑∑2016.                                                                       11   A.∑∑I don't know what he said.∑I wasn't assigned to the
12   A.∑∑Okay.∑I told you, at some point, it was determined that                     12   ∑∑∑jails.∑I wasn't -- when he would give those directions.
13   ∑∑∑the video system they could not know fast enough if it                       13   ∑∑∑When he put this policy out, I was in a street unit. I
14   ∑∑∑was up or down with the recording, with the monitoring                       14   ∑∑∑wasn't -- like I didn't even receive it.
15   ∑∑∑and cycling of the cameras.∑Some cameras work and some                       15   Q.∑∑Okay.∑And speaking for the County in this 30(b)(6)
16   ∑∑∑not.                                                                         16   ∑∑∑weird deposition situation and scenario you find
17   ∑∑∑∑∑So, they decided to go ahead and go to 30-minute                           17   ∑∑∑yourself in, are you aware of anyone ever retracting
18   ∑∑∑rounds for the entire building everywhere.∑And I don't                       18   ∑∑∑14.14?
19   ∑∑∑know the exact date that that was decided because I                          19   A.∑∑Other than by putting out 14.12, no.
20   ∑∑∑wasn't there.                                                                20   Q.∑∑Well, there's a way to retract a policy, isn't there,
21   Q.∑∑Okay.                                                                       21   ∑∑∑that says, "14.14 will no longer apply"?
22   A.∑∑So, if that occurred after the rape, the sexual assault,                    22   A.∑∑You could do that.∑I mean, that is a -- something you
23   ∑∑∑that decision to go to 30-minute rounds, then, in 2018                       23   ∑∑∑could do.
24   ∑∑∑or 2016 or whatever, if the video monitoring equipment                       24   Q.∑∑Okay.∑Did anyone ever retract 14.12 and say, "We're
25   ∑∑∑is down, they do 30-minute rounds.                                           25   ∑∑∑actually doing 30-minute rounds now"?
                                                                           Page 59                                                                           Page 61
·1   ∑∑∑∑∑If they're sitting in their duty station and the                           ·1   A.∑∑It says it right here on page 8, where it says:
·2   ∑∑∑video monitor is working -- they can see it cycling                          ·2   ∑∑∑∑∑∑∑∑"The housing units where the malfunction
·3   ∑∑∑through -- then they would have been required to do hour                     ·3   ∑∑∑∑∑occurred shall revert to half-hour rounds
·4   ∑∑∑rounds.                                                                      ·4   ∑∑∑∑∑until the video monitoring equipment has been
·5   Q.∑∑So, what I'm asking is, that -- just to -- the record is                    ·5   ∑∑∑∑∑repaired and is in full operation."
·6   ∑∑∑getting very complicated.                                                    ·6   ∑∑∑∑∑The video monitoring equipment is malfunctioning.
·7   ∑∑∑∑∑Is it the case that you don't know what the                                ·7   Q.∑∑Okay.∑But it's been malfunctioning for many, many
·8   ∑∑∑practice was between March, when the policy was signed,                      ·8   ∑∑∑years; right?
·9   ∑∑∑and October 1st, 2016?                                                       ·9   A.∑∑Yes.
10   ∑∑∑∑∑The practice.∑I mean, we've got three pieces of                            10   Q.∑∑It's just that some day someone decided, look, this
11   ∑∑∑paper here, but what they were actually doing on 6.∑Do                       11   ∑∑∑whole system is so unreliable, let's just do the
12   ∑∑∑you know?                                                                    12   ∑∑∑30-minute rounds?
13   A.∑∑The policy for 2016 says if the video equipment is                          13   A.∑∑Yes.
14   ∑∑∑malfunctioning, it's 30-minute rounds.                                       14   Q.∑∑And they relied on this from 11-10-15?
15   Q.∑∑Okay.                                                                       15   A.∑∑That's the policy now.
16   A.∑∑So, if the video equipment is not malfunctioning, it's                      16   Q.∑∑Right.
17   ∑∑∑hour rounds.                                                                 17   ∑∑∑∑∑And so what stopped them on 11-11-15 saying, "You
18   Q.∑∑And you're saying that because of --                                        18   ∑∑∑guys.∑It says here at the bottom of paragraph 8, if
19   A.∑∑The 2015 policy.                                                            19   ∑∑∑there's malfunction going on, we should be doing
20   Q.∑∑The 11 -- the 14.12?                                                        20   ∑∑∑half-an-hour rounds.∑And there's just nothing but
21   A.∑∑Yes.                                                                        21   ∑∑∑malfunctions.∑Some days they're up.∑Some days they're
22   ∑∑∑∑∑I'm sorry.∑I --                                                            22   ∑∑∑down.∑These cameras just aren't reliable"?
23   Q.∑∑Who decided that they were going to follow 14.12 instead                    23   ∑∑∑∑∑Did anything stop anyone from using paragraph 8 as
24   ∑∑∑of 14.14, where it says, "Floors 5 and 6 will have                           24   ∑∑∑of 11-11-15 to start doing half-an-hour rounds?
25   ∑∑∑continuous rounds"?                                                          25   A.∑∑We are doing half-an-hour rounds.

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Case 2:19-cv-10027-GAD-APP ECF No. 169-3, PageID.3129 Filed 07/10/23 Page 18 of 19

BULIFANT, COMMANDER ALAN
01/12/2021                                                                                                                                             Pages 62–65
                                                                          Page 62                                                                           Page 64
·1   Q.∑∑Well, I know, but you weren't -- according to you, you                     ·1   ∑∑∑∑∑MR. O'NEILL:∑All right.∑I just have one follow-up
·2   ∑∑∑weren't in '15 and '16.                                                     ·2   ∑∑∑question.
·3   ∑∑∑∑∑MR. O'NEILL:∑Excuse me.∑Objection.                                        ·3   ∑∑∑∑∑∑∑∑∑∑∑∑*∑∑*∑∑*
·4   ∑∑∑Mischaracterizes his testimony.∑He said they were doing                     ·4   ∑∑∑∑∑∑∑∑∑∑∑EXAMINATION
·5   ∑∑∑30-minute rounds in '15 and '16 if the cameras weren't                      ·5   BY MR. O'NEILL:
·6   ∑∑∑working.                                                                    ·6   Q.∑∑Commander, you were asked about policies and practices
·7   BY MS. PRESCOTT:                                                               ·7   ∑∑∑of the security staff on the day of the attack by
·8   Q.∑∑So, did you understand my question, Commander?                             ·8   ∑∑∑Mr. Solomon of Mr. Burks, what, if anything, the floor
·9   A.∑∑I stated earlier, if the video equipment doesn't work,                     ·9   ∑∑∑officers did that could have prevented that.
10   ∑∑∑they do 30-minute rounds.∑I also stated that, at a                          10   ∑∑∑∑∑Is rounding -- does rounding act as a deterrent to
11   ∑∑∑certain point, it was decided above me that they were                       11   ∑∑∑sexual assaults such as Mr. Burks suffered?
12   ∑∑∑going to just do 30-minute rounds at Jail Division II,                      12   A.∑∑Yes.
13   ∑∑∑and I was not sure what that date was.                                      13   ∑∑∑∑∑It's just like on the street.∑When you've got, you
14   ∑∑∑∑∑But I, at least -- believe it was at least 2018.                          14   ∑∑∑know, officer presence, that deters people from -- you
15   Q.∑∑Do --                                                                      15   ∑∑∑know, you've got an officer there in uniform that is
16   A.∑∑Now, do you have a round verification printout from                        16   ∑∑∑deterring people from committing assaultive acts.∑You
17   ∑∑∑6 Old for that day?                                                         17   ∑∑∑know, you've got an officer that's there with their
18   Q.∑∑Do you have anybody that you -- that you know made that                    18   ∑∑∑senses, looking.∑Hey, does this guy look nervous?∑Does
19   ∑∑∑decision that affected 2018?                                                19   ∑∑∑this guy look afraid?∑Does this man or woman look
20   ∑∑∑∑∑Do you know the name of a person who would have                           20   ∑∑∑scared?∑Are they crying?∑Do they look depressed?∑Are
21   ∑∑∑made the 2018 shift in policy?                                              21   ∑∑∑they going to harm themselves?∑Are they going to harm
22   A.∑∑It came above me.∑It could have been a deputy chief.                       22   ∑∑∑somebody else?∑Do they need to see the nurse?
23   ∑∑∑It could have been the chief, the sheriff, the                              23   ∑∑∑∑∑You're looking for all these signs and symptoms
24   ∑∑∑undersheriff.                                                               24   ∑∑∑that, hey, is it just too quiet on this ward?∑Is it too
25   ∑∑∑∑∑It would have been above me.                                              25   ∑∑∑loud on this ward?∑You know, you're using all of these
                                                                          Page 63                                                                           Page 65
·1   Q.∑∑Okay.∑And you don't know -- but you would point to the                     ·1   ∑∑∑things to try and make sure that nothing is going to go
·2   ∑∑∑second -- the third sentence of paragraph 8 as the basis                    ·2   ∑∑∑on.∑And even the cameras, themselves, whether they work
·3   ∑∑∑for what's going on now?                                                    ·3   ∑∑∑or don't work, the cameras simply being there are a
·4   A.∑∑If you're asking me my opinion, yes.                                       ·4   ∑∑∑deterrent to the inmates' destructive behavior.
·5   Q.∑∑Well, I'm asking you as the person that's designated to                    ·5   Q.∑∑And how about the officer sitting at the duty station,
·6   ∑∑∑sit here, unfortunately for you.∑I hope it's not too                        ·6   ∑∑∑listening to the activity on the wards?∑Is that a
·7   ∑∑∑unfortunate, but you're the person that the County                          ·7   ∑∑∑function of preventing sexual assault?
·8   ∑∑∑designated.                                                                 ·8   A.∑∑It certainly is.
·9   A.∑∑Okay.                                                                      ·9   ∑∑∑∑∑I mean, the officer in the duty station, actually
10   Q.∑∑And so I'm trying to figure out, speaking for the                          10   ∑∑∑he can control a lot of what goes on in those wards
11   ∑∑∑County, you're pointing to the third paragraph of 8 as                      11   ∑∑∑because he's got an intercom system where he can not
12   ∑∑∑the reason that we can be doing half-hour rounds right                      12   ∑∑∑only speak to the inmates but -- again, you know, it's a
13   ∑∑∑now; right?                                                                 13   ∑∑∑little bit of a distance but you can yell down.∑The
14   A.∑∑Yes.                                                                       14   ∑∑∑sound echoes.∑It's concrete.∑It's steel.
15   Q.∑∑And as the County -- speaking for the County, do you --                    15   ∑∑∑∑∑And, you know, often a ward will get a little too
16   ∑∑∑is there any reason that half-an-hour rounds weren't                        16   ∑∑∑loud.∑You'll flash the lights.∑"Hey, guys, quieten
17   ∑∑∑going on after 11-10-15 based on the very same reasoning                    17   ∑∑∑down."
18   ∑∑∑in paragraph 8?                                                             18   ∑∑∑∑∑You'll hear -- maybe they're roughhousing.
19   A.∑∑The only reason could be that the video monitoring                         19   ∑∑∑∑∑"Hey, guys, stop it.∑I don't want to have to come
20   ∑∑∑equipment was working correctly.                                            20   ∑∑∑down there and lock you down.∑I'm going to turn the TV
21   Q.∑∑Do you know?                                                               21   ∑∑∑off. You've got to behave."
22   A.∑∑No.∑I don't have personal knowledge of that.                               22   ∑∑∑∑∑So, just them knowing, yeah, the deputies are here,
23   Q.∑∑And -- okay.                                                               23   ∑∑∑they are paying attention is a deterrent.
24   ∑∑∑∑∑MS. PRESCOTT:∑That's all the questions that I                             24   ∑∑∑∑∑MR. O'NEILL:∑Thank you.∑Nothing further.
25   ∑∑∑have.∑I appreciate your time.                                               25   ∑∑∑∑∑∑∑∑∑∑∑∑*∑∑*∑∑*

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Case 2:19-cv-10027-GAD-APP ECF No. 169-3, PageID.3130 Filed 07/10/23 Page 19 of 19

BULIFANT, COMMANDER ALAN
01/12/2021                                                                                                    Pages 66–67
                                                                             Page 66
·1   ∑∑∑∑∑∑∑∑∑∑∑RE-EXAMINATION
·2   BY MS. PRESCOTT:
·3   Q.∑∑Do you know if anyone flashed any lights or used any
·4   ∑∑∑intercom or used their five senses on August 24th, 2016,
·5   ∑∑∑in any of the ways you just described, sir?
·6   A.∑∑I don't have any personal knowledge of that.
·7   ∑∑∑∑∑MS. PRESCOTT:∑I appreciate it.∑That's all I need.
·8   ∑∑∑Thank you.
·9   ∑∑∑∑∑MR. O'NEILL:∑Thank you.∑We're done.
10   ∑∑∑∑∑I'll get Mr. Foreman.
11   ∑∑∑∑∑MS. PRESCOTT:∑Okay.∑Thank you.
12   ∑∑∑∑∑(Deposition concluded at 2:40 p.m.)
13   ∑∑∑∑∑∑∑∑∑∑∑∑*∑∑*∑∑*
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                                                                             Page 67
·1   STATE OF MICHIGAN )

·2   COUNTY OF OAKLAND )

·3   ∑∑∑∑∑∑∑CERTIFICATE OF NOTARY PUBLIC

·4   ∑∑∑I do hereby certify that the witness, whose

·5   attached testimony was taken in the above matter, was

·6   first duly sworn to tell the truth; the testimony

·7   contained herein was reduced to writing via remote

·8   attendance of the witness by means of stenography;

·9   afterwards transcribed; and is a true and complete

10   transcript of the testimony given.

11   ∑∑∑I further certify that I am not connected by blood

12   or marriage with any of the parties; their attorneys or

13   agents; and that I am not interested, directly or

14   indirectly, in the matter of controversy.

15   ∑∑∑In witness whereof, I have hereunto set my hand

16   this day at Highland, Michigan, County of Oakland, State

17   of Michigan on Tuesday, January 19, 2021.

18

19

20   ∑∑∑∑∑_______________________________________

21   ∑∑∑∑∑John J. Slatin, RPR, CSR-5180

22   ∑∑∑∑∑Certified Shorthand Reporter

23   ∑∑∑∑∑Notary Public, Oakland County, Michigan

24   ∑∑∑∑∑My commission expires:∑July 25, 2023

25



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